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                                          THE UNITED STATES DISTRICT COURT
                                        FOR THE MIDDLE DISTRICT OF LOUISIANA

ATAKAPA INDIAN                                                    Civil Action No: 3:19-cv-00028-SDD-EWD
de Creole NATION                                                  Complaint: Class Action

                                                                  District Court Chief Justice: Madam Shelly Dick
            Plaintiff                                             Magistrate Judge:             Erin Wilder-Doomes

            V

LOUISIANA through the Council for the Success of Black men and Boys
Governor’s office of Indian Affairs, and THE UNITED STATES through Attorney General et al

            Defendant
            __________________________________________________________________

                          AMENDED APPLICATION FOR PRELIMINARY
                        AND PERMENANT INJUNCTION 15 USCA §1- 2 et seq
                CLASS ACTION PETITION TO FIX BOUNDRY, FOR DAMAGES AND FOR
                                  DECLARATORY JUDGMENT

            __________________________________________________________________

MAY IT PLEASE THE COURT:

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MAY IT PLEASE THE COURT:

I. INTRODUCTION

           NOW COMES and appears the CHRISTIAN EMPEROR, Edward Moses Jr, Trust

Protector of the American-l’iberian Indian Tribe of ‫ מֶשׁה‬Moses also known as the Atakapa Indian

de Creole Nation who seeks an “EMERGENCY TEMPORARY RESTRAINING ORDER”

without notice to the adverse parties, a declaratory judgment, preliminary and permanent

injunction restraining and enjoining the United States Government, the State of Louisiana and its

parishes, subdivisions, and municipalities from among other things past and future application of

its sadistic “European Doctrine of Title by Discovery and Doctrine by Conquest.” The Plaintiffs

filed this class action lawsuit, seeking to be declared owners of certain immovable property and

to fix the boundary between their properties and State-owned property. The Plaintiffs further

requests compensation for the inverse condemnation of the immovable property and repayment




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of royalties received by the State for oil, gas, and mineral activities that have taken place on the

property.

                         a. CLASS ACTION- Prerequisites.

         Two requirements for exercise of pendent jurisdiction are: (1) that the federal claim has

“substance” so as to confer jurisdiction of subject matter on court in which action is commenced

and (2) that the state and federal claims derive from a common nucleus of operative fact. Lewis

v. Pennington, 400 F.2d 806 (6th Cir.1968) The Plaintiffs filed this class action lawsuit, seeking

a declaration that the class owns riparian property located next to Bayou Teche, Mermentau

River, Atchafalaya River and the Mississippi River to the Gulf of Mexico together with any

unidentified navigable water ways.1 To establish ownership and possession of the

aforementioned properties and waterways plaintiff cites to Article V of the Treaty of Friendship,

Limits, and Navigation Between Spain and The United States; October 27, 1795 which states as

follows:

                  The two High contracting Parties shall by all the means in their
                  power maintain peace and harmony among the several Indian
                  Nations who inhabit the country adjacent to the lines and Rivers
                  which by the proceeding Articles form the boundaries of the two
                  Floridas…

         The Plaintiff seek a declaration that they owners of the Acadiana territory former known as

Atakapa County, Orleans Territory and the Post Des Atakapa Trading Post and to fix the

boundary between their properties and State-owned property.2 The Plaintiffs further seek

compensation for the inverse condemnation of their immovable property and repayment of

royalties received by the State and federal Government for oil, gas, and mineral activities that

have taken place on the property.3 Petitioner seeks a declaratory judgment declaring the class


1
    Crooks v. Dep't of Nat. Res., 2017-750 (La.App. 3 Cir. 12/28/18) 2018 WL 6816853
2
    id
3   id


                                                   7
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owners of all lands known as Atakapa or Post des Atakapa, New Spain or Spanish Louisiana,

East and West Florida accordance with Louisiana's laws of riparian ownership....4 Plaintiffs

assert additional claims seeking a declaration that their lands have been unlawfully expropriated,

without compensation due to unlawful occupation and taking.

         Petitioners seek damages for the unlawful taking of their land by unlawful occupation; and

to recover the mineral royalty and other payments derived from oil, gas, and mineral activities

and productions received by the State of Louisiana and the United States from the immovable

property that is the subject of these proceedings. Separate and independent from the above,

Plaintiffs consists [sic] of the owners of “Post des Atakapa” located on the Bayou near

Jeanerette. Much of the land bordering and lying outside modern-day Old Jeanerette Road in

New Iberia was selected and approved as fertile farm land and transferred to the state by the

United States Government under the Morrill Land-Grant Act of 1862, granting lands to establish

Land Grant Colleges. It is not disputed that these lands and their titles originated from patents

issued by the [S]tate and Federal Government. Because of the State's and federal government’s

acknowledgment that these plaintiffs' ownership is not disputed, the only remaining issues with

respect to these owners is whether lands known as New Spain or Spanish Louisiana have been

unlawfully expropriated and, if so, the amount of damages necessary to compensate these

plaintiffs for the unlawful taking of their land without compensation.

                         b. There are questions of law or fact common to the class;

    1. Plaintiff brings this action on behalf of itself and as a class action under the provisions of

         Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure on behalf of the

         members of the following Plaintiff Class:


4
    id




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2. All natural and legal persons of indigenous negroid descendant who inhabited the country

    adjacent to the lines and Rivers which form the boundaries of East and West Florida and

    Atakapa District.

3. Specifically excluded from this Class are Defendants of European or Anglo Saxon

    Descent; the officers, directors or employees of any Defendant; any entity in which any

    Defendant has a controlling interest; any affiliate, legal representative, heir or assign of

    any Defendant and any person acting on their behalf.

4. Class Identity: The Plaintiff Class is readily identifiable and is one for which records

    should exist.

5. Numerosity: Due to the nature of the trade and commerce involved, Plaintiff believes that

    there are thousands of Class members as above described, the exact number and their

    identities being known or readily ascertainable to Defendants and their co-conspirators.

6. Typicality: Plaintiff’s claims are typical of the claims of the members of the Plaintiff Class

    because plaintiff was granted through intestate succession ownership of Family

    birthrights, specifically their identity as descendants of the Atakapa Indian Nation

    residential owners of Atakapa District and Post Des Atakapa Commercial Trading Post

    therefore Plaintiff’s claims arise from the same common course of conduct giving rise to

    the claims of the members of the Class and the relief sought is common to the Class.

7. Common questions predominate: There are questions of law and fact common to the Class,

    including, but not limited to:

         a)    whether Defendants and their co-conspirators unlawfully expropriated

               plaintiff’s property without just compensation;

         b)    whether Defendants and their co-conspirators secured secret interest in oil and

               gas lease granted in Atakapa Indian's lands;



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          c)    the identity of the participants of the alleged conspiracy or manipulative

                scheme;

          d)    the duration of the conspiracy or manipulative scheme alleged herein and the

                acts performed by Defendants and their co-conspirators in furtherance thereof;

          e)    whether the alleged conspiracy violated Section 1 of the Sherman Act, 15

                U.S.C. § 1 et seq;

          f)    whether the conduct of Defendants and their co-conspirators, as alleged in this

                Complaint, caused injury to Plaintiff and the other members of the Plaintiff

                Class;

          g)    the appropriate class-wide measure of damages; and

          h)    the appropriate nature of class-wide injunctive or other equitable relief.

8. These and other questions of law or fact which are common to the members of the Class

     predominate over any questions affecting only individual members of the Plaintiff Class.

9. Adequacy: Plaintiff will fairly and adequately protect the interests of the Class in that

     Plaintiff’s interests are aligned with, and not antagonistic to, those of the other members of

     the Class. Plaintiff has retained counsel competent and experienced in the litigation of

     class actions and antitrust litigation to represent itself and the Class.

10. Superiority: A class action is superior to other available methods for the fair and efficient

     adjudication of this controversy since individual joinder of all damaged Class members is

     impractical. Prosecution as a class action will eliminate the possibility of repetitious

     litigation. The damages suffered by individual Class members are relatively small, given

     the expense and burden of individual prosecution of the claims asserted in this litigation.

     Absent a class action, it would not be feasible for Class members to seek redress for the

     violations of law herein alleged. Further, individual litigation presents the potential for



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          inconsistent or contradictory judgments and would greatly magnify the delay and expense

          to all parties and to the court system. Therefore, a class action presents far fewer case

          management difficulties and will provide the benefits of unitary adjudication, economy of

          scale and comprehensive supervision by a single court.

           This case raises the single question whether territory acquired by the United States by

cession from a foreign power remains a ‘foreign country’….5                         The United States Federal

government was created in 1777 by the union of thirteen anglo-saxon colonies of Great Britain in

‘certain articles of confederation and perpetual union….’ Each member of the confederacy was

denominated a state.6

                            c.   The Doctrine of Title by Discovery and Doctrine of Conquest

           The illegal coercive provisions of the Doctrine of Conquest can find its roots in the 1795

Treaty of Friendship between the Catholic King of Spain and the United States Paragraph V to

wit:

                   “both Parties oblige themselves expressly to restrain by force all
                   hostilities on the part of the Indian Nations living within their
                   boundaries

           Louisiana is the only state that governs under Roman Civil Law. Under Roman law it

was declared that ‘a promise made to effect a base purpose, as to commit homicide or sacrilege,

is not binding.'7 In United States jurisprudence a contract may be illegal and void because it is

contrary to a constitution or statute, or inconsistent with sound policy and good morals.8 Lord

Mansfield said: ‘Many contracts which are not against morality, are still void as being against the

maxims of sound policy.’9 It is a rule of the common law of universal application, that where a

contract express or implied is tainted with either of the vices last named, as to the consideration

5   De Lima v. Bidwell, 182 U.S. 1, 174, 21 S.Ct. 743, 45 L.Ed. 1041 (1901)
6   Downes v. Bidwell, 182 U.S. 244, 249, 21 S.Ct. 770, 772, 45 L.Ed. 1088 (1901)
7
    Trist v. Child, 88 U.S. 441, 448, 22 L.Ed. 623 (1874)
8 id
9 id




                                                         11
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or the thing to be done, no alleged right founded upon it can be enforced in a court of justice. 10

The system under which the United States were settled seems to have been that of converting the

discovery of the country into conquest.11 The property of the great mass of the community

originates in this principle which cannot be rejected by courts of justice. 12

        When the conquest is complete, and the conquered inhabitants can be blended with the

conquerors, or safely governed as a distinct people, public opinion, which not even the conqueror

can disregard, imposes these restraints upon him; and he cannot neglect them without injury to

his fame, and hazard to his power.13 Most usually, the conquered are incorporated with the

victorious nation, and become subjects or citizens of the government with which they are

connected. The new and old members of the society mingle with each other; the distinction

between them is gradually lost, and they make one people.14 Where this incorporation is

practicable, humanity demands, and a wise policy requires, that the rights of the conquered to

property should remain unimpaired; that the new subjects should be governed as equitably as the

old, and that confidence in their security should gradually banish the painful sense of being

separated from their ancient connections and united by force to strangers.15

        It is more likely than not that individuals' human rights are being violated by the sadistic

European Doctrine of Conquest by force, and the loss of their Human rights, even for a minimal

period, constitutes irreparable harm.16 Showing that plaintiff was harmed or threatened with

harm by alleged antitrust practice of defendant is prerequisite to private antitrust action seeking

treble damages or injunctive relief under Clayton Act. Clayton Act, §§ 4, 16, 15 U.S.C.A. §§ 15,

26. Before a district court may issue a preliminary injunction, the movant must show that: (1)

10 id
11 Johnson v. M'Intosh, 21 U.S. 543, 562, 5 L.Ed. 681 (1823)
12 id
13
   id
14
   id
15
   id
16
   Mills v. D.C., 571 F.3d 1304 (D.C. Cir.2009)

                                                       12
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the movant is likely to suffer irreparable injury unless the injunction issues; (2) the threatened

injury to the movant if the court does not issue the preliminary injunction outweighs whatever

damage the proposed injunction may cause the opposing party; (3) the injunction, if issued,

would not be adverse to the public interest; and (4) there is a substantial likelihood of success on

the merits.1718 A plaintiff seeking injunctive relief “must satisfy the court that relief is needed.”19

To meet this standard, a plaintiff must demonstrate “that there exists some cognizable danger of

recurrent violation, something more than the mere possibility which serves to keep the case

alive.”2021

        Under this test, petitioner must show that he is likely to suffer irreparable injury unless

the injunction issues. A private company, the Royal Crown, LTD brought this antitrust action

against the United States, the Louisiana Governor through the Governor’s office of Indian

Affairs and through the corporate body of the Council for the Success of Black men and Boys,

the Parish of East Baton Rouge, Iberia, St. Martin, Orleans, Shreveport and Monroe,

subdivisions of the State of Louisiana, and local officials, in their official capacity as Mayors of

the several parishes among other defendants.22 His Majesty relies on Jefferson Disposal Co., Inc.

v. Jefferson Parish, La., for the proposition (suggesting that persons who were injured by

anticompetitive conduct of a local government retained rights to injunctive relief under Section

16 of the Clayton Act).2324




17
   Fed. R. Civ. P. 65
18
   People's Tr. Fed. Credit Union v. Nat'l Credit Union Admin. Bd., CIV 16-0611 JB\SCY, 2018 WL
5437832 (D.N.M. Oct. 29, 2018)
19
   United States v. W.T. Grant Co., 345 U.S. 629, 633, 73 S.Ct. 894, 97 L.Ed. 1303 (1953).
20
   Id. at 633
21
   Walker v. Turner, 4:18CV48-GHD-DAS, 2018 WL 3868790, at *2 (N.D. Miss. Aug. 14, 2018)
22
   Jefferson Disposal Co., Inc. v. Jefferson Par., La., 603 F.Supp. 1125 (E.D. La.1985)
23
   id
24
   See H.K. Porter Company v. Metropolitan Dade County, 650 F.2d 778 (5th Cir.1981); Save
the Bay, Inc. v. The United States Army, 639 F.2d 1100 (5th Cir.1981).

                                                  13
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           The Supreme Court in National Society of Professional Engineers v. United States

instructed that a district court is empowered to fashion appropriate restraints on a defendant's

future activities “both to avoid a recurrence of the violation and to eliminate its consequences.”25

Thus, so long as the injunctive relief is “a reasonable method of eliminating the consequences of

the illegal conduct,” it may be rendered. Id. In the instant case, the availability of injunctive relief

is of major importance; it provides the ROYAL CROWN with the opportunity to challenge the

legality of the United States, State of Louisiana and the Parishes along with the named and

unnamed corporate defendants monopolistic, anti-competitive activity and, if successful in

proving a violation of the antitrust laws, to have the Court correct the process for the future.26

      II. they will continue to suffer irreparable injury if a temporary restraining order and a
          preliminary and permanent injunction is not granted

           The ROYAL CROWN, LTD will continue to suffer irreparable injury if the emergency

restraining order, preliminary and permanent injunctions are not issued in this case. Separation

from land and from ancient ancestral connections causes Immediate, Ongoing, Irreparable Harm

“[L]oss of constitutional freedoms, for even minimal periods of time, unquestionably constitutes
                          27
irreparable injury.            As a result, “[w]hen an alleged deprivation of a constitutional right is

involved, most courts hold that no further showing of irreparable injury is necessary.”28 The

threat of separation and any actual separation causes immediate, ongoing, severe trauma to

Plaintiffs, as would any period of forced separation, for which no remedy at law is available.29




25
     National Society of Professional Engineers v. United States 435 U.S. at 697, 98 S.Ct. at 1368 (citations
omitted).
26
   Jefferson Disposal Co., Inc. v. Jefferson Par., La., 603 F.Supp. 1125, 1133–34 (E.D. La.1985)
27   Mills v. Dist. of Columbia, 571 F.3d 1304, 1312 (D.C. Cir. 2009) (citations omitted).
28   11A WRIGHT &MILLER, FED. PRAC. &PROC. § 2948.1 (2d ed. 2004).
29
     M.G.U. v. Nielsen, 325 F. Supp. 3d 111, 121-23 (D.D.C. 2018).

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        1. 8 U.S.C.A. § 1401. Nationals and citizens of United States at birth
        The following shall be nationals and citizens of the United States at birth:

         (a)     a person born in the United States, and subject to the jurisdiction
         thereof.

         (b)     a person born in the United States to a member of an … aboriginal
         tribe: Provided, That the granting of citizenship under this subsection shall
         not in any manner impair or otherwise affect the right of such person to
         tribal or other property;

         The Atakapa Indians of New Iberia was granted United States citizenship status as

“African Americans” and as Louisiana Citizens recently under the corporate body of the council

for the success of “Black Men and Boys” but their status as United States and Louisiana citizens

“impairs and deprives [them] from exercising their birth rights to their domestic and international

tribal lands and other property.

        2. Declaratory relief as to citizenship. Tribal Allegiance vs the 14th Amendment
        An action for a declaratory judgment as to citizenship involves a trial de novo. The

fourteenth amendment affirms the ancient rule of citizenship by birth within the territory in the

allegiance and under the protection of the country, including all children here born of resident

aliens, except the children of foreign sovereigns or their ministers, or born on foreign public

ships, or children of Indian tribes owing direct tribal allegiance.30 On November 9, 2017, the

District Court in Iberia Parish granted petitioners a judgment of possession to reclaim their tribal

titles and names as part of the intestate succession of WILLIAM MOSES JR. In accordance

with the judgment of possession petitioner is a descendant of [sic] the Atakapa-Ishak Indian

Nation of the former Spanish Louisiana Territory at Post des Atakapa renamed Acadiana.

        In 1971, the Louisiana State Legislature officially recognized twenty-two Louisiana

parishes and "other parishes of similar cultural environment" for their "strong French Acadian


30
     United States v. Wong Kim Ark, 169 U.S. 649, 18 S.Ct. 456, 42 L.Ed. 890 (1898)

                                                   15
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cultural aspects" (House Concurrent Resolution No. 496, June 6, 1971, authored by Carl W.

Bauer of St. Mary Parish), and made The Heart of Acadiana the official name of the region. The

public, however, prefers the one-word place name Acadiana to refer to the region. The official

term appears on regional maps and highway markers. 31

        3. Guardian and Ward
        It is common knowledge that in the United States, until recent years, there were many

localities that did not maintain comprehensive and complete vital statistics or birth records, and

that even in those metropolitan centers in which such records were maintained some have been
                                                                                       32
lost or destroyed accidentally, either by fire or flood or other casualties.                The Atakapa Indian

Nation of New Iberia “are being held as wards of the State through the Louisiana Governor's

Office of Indian Affairs, and through the corporate body of the Council for the Success of Black

Men and Boys ... [a]nd in pupilage under [the] United States[.]”33

        The legal relationship that exists between a person (the guardian) appointed by a court to

take care of and manage the property of a person (the ward) who does not possess the legal

capacity to do so, by reason of age, comprehension, or self-control. In 1812 the State of

Louisiana through the United States assumed a fiduciary relationship with the ancient indigenous

Aboriginal occupants specifically the Atakapa Indian Nation of East and West Florida34 and the

vast Louisiana Territory, New Spain or New Iberia named after the Iberian Peninsula.… In some

of the old states ‘where small remnants of tribes, American negro people of color, remain,



31
     https://en.wikipedia.org/wiki/Acadiana#cite_note-6
32 Liacakos v. Kennedy, 195 F.Supp. 630 (D.D.C1961)
33 Atakapa Indian de Creole Nation v. Louisiana, 6:18-CV-00190, 2018 WL 4222830, at *1 (W.D. La. July 23,

2018), report and recommendation adopted, 6:18-CV-00190, 2018 WL 4089385 (W.D. La. Aug. 27, 2018)
34
    La. Rev. Stat. Ann. § 25:701That portion of Louisiana east of the Mississippi River and north of the Isle of
Orleans, which was part of the British Colony of West Florida until 1779, the Spanish Colony of West Florida until
1810, and finally the Republic of West Florida in late 1810, is an official region of the state of Louisiana. This
unique region, which has national and international significance, shall be known as the Republic of West Florida
Historic Region, or the Florida Parishes of Louisiana. The region shall include the parishes of East Baton Rouge,
East Feliciana, Livingston, St. Helena, St. Tammany, Tangipahoa, Washington, and West Feliciana.


                                                       16
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surrounded by white population, and who, by their reduced numbers, had lost the power of self-

government, the laws of the state have been extended over them for the protection of their

persons and property.’3536

          4. Law of Trusts
           Equity will construct a trust in order to satisfy the demands of justice when one who

occupies a fiduciary or confidential relationship abuses it and by fraud or overreaching gains

some advantage to himself.37 Moreover, the courts will prevent one from holding for his own

benefit that which he has gained by reason of a breach of a fiduciary relationship.38                             An

administrator is not permitted to purchase directly or indirectly property belonging to the estate.39

Moreover, the plaintiffs placed confidence in the United States and the State of Louisiana and

expected and had a right to expect that they were telling them the truth and advising them

promptly of all matters pertinent to the estate. The United States and the state of Louisiana owed

to the plaintiffs the highest degree of fidelity. 40

          5. United States and State of Louisiana Breach of Fiduciary Duty
           Traditional trust law provides for broad and flexible equitable remedies in cases

involving breaches of fiduciary duty. In addition to specific remedies for recovery of profits

obtained by fiduciaries by use of assets, trust law provides the alternative remedy of restoring

participants to the position in which they would have occupied but for the breach of trust.

Restatement (Second) of Trusts, s 205, Comment a. Generally, in the absence of an election of a

particular remedy by all beneficiaries, the court has a duty to enforce the remedy which is most

advantageous to the participants and most conducive to effectuating the purposes of the trust.

35   Danzell v. Webquish, 108 Mass. 133; Pells v. Webquish, 129 Mass. 469; Mass. St. 1862, c. 184; 1869, c. 463
36   Elk v. Wilkins, 112 U.S. 94, 108, 5 S.Ct. 41, 48, 28 L.Ed. 643 (1884)
37
     Strates v. Dimotsis, 110 F.2d 374 (5th Cir.1940)
38   id
39
     id
40   id


                                                          17
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Restatement (Second) of Trusts, s 214. Among the factors which the court may consider in

selecting a remedy are: (1) the purposes of the trust; (2) the relative pecuniary advantages to the

trust estate of the various remedies; (3) the nature of the interest of each beneficiary; (4) the

practical availability of the various remedies; and (5) the extent of the deviation from the terms

of the trust required by the adoption of each of the remedies.4142

           The Broad definition of “fiduciary” under non-bankruptcy law, namely, a relationship

involving trust, confidence, and good faith, … under federal law arises by virtue of an express …

trust. 11 U.S.C.A. § 523(a)(4).43 Courts use the common law of trusts as a guide to interpreting

fiduciary duties … and stating an affirmative defense of acquiescence or consent to a breach of

trust complaint under common law requires full disclosure of material facts.44 (“For a cestui que

trust to ‘ratify’ or confirm a breach of trust, he must be apprised of all the material facts and as

well of their legal effect. Johnson v. M'Intosh stands for the proposition that the illegal title to

American land allegedly held by the United States government acquired by discovery and

conquest is superior to that of the American aborigine’s succession rights.45

           Does this term designate the whole, or any particular portion of the American empire?

Certainly, this question can admit but of one answer. There are certain principles of natural

justice inherent in the Anglo-Saxon character, which need no expression in constitutions or

statutes to give them effect or to secure dependencies against legislation manifestly hostile to

their real interests.46 No half-hearted disclosure or partial discovery is sufficient in either

respect.”);47    48
                      (“The mere fact ... that the beneficiary does not object to a deviation from the

41   Restatement (Second) of Trusts, s 214 Comment to Subsection (2, b)
42
   Eaves v. Penn, 587 F.2d 453, 462–63 (10th Cir.197
43 In re McPherson, 564 B.R. 6 (Bankr. D. Mass.2017)
44 See Ream v. Frey, 107 F.3d 147, 153-54 (3d Cir. 1997); In re Cumberland Farms, Inc., 284

F.3d 216, 231 (1st Cir. 2002)
45
   Johnson v. M'Intosh, 21 U.S. 543, 562, 5 L.Ed. 681 (1823)
46
   Downes v. Bidwell, 182 U.S. 244, 280, 21 S.Ct. 770, 784, 45 L.Ed. 1088 (1901)
47   Restatement (Second) of Trusts § 216 (1959)


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terms of the trust is not consent to such deviation.”). id. Proceeding to decide the case upon the

merits, Chief Justice Marshall held that the territorial clause of the Constitution was confined to

the territory which belonged to the United States at the time the Constitution was adopted and
                                                                                             49
did not apply to territory subsequently acquired from a foreign government.                       In Downes v.

Bidwell The United States Supreme Court held that the Island of Porto Rico by the treaty of

cession with Spain became territory appurtenant to the United States, but not a part of the United

States.”50

          6. The Doctrine of Discovery vs The Sadistic Doctrine of European Conquest

           The Question thus raised by his Majesty here is whether the Louisiana Territory acquired

by the United States from France by cessation actually belong to the United States or does it

belong to the Christian Emperor D’Orleans by intestate succession? The French Louisiana

Territory was an independent sovereign country at the time that the constitution was adopted.

Furthermore, the Louisiana Purchase treaty was not ratified by the United States congress.

Following the logic of Chief Justice Marshall’s holding in Downes v. Bidwell the Louisiana

territory or New Spain does not belong to the United States in any capacity because the Treaty

with France was never ratified by the United States Congress and thus it is not subject to the

confines of the United States Constitution, but that of international law and the Law of Nations.

And although the Spanish Treaty of 1795 was ratified by the United States Congress and Spain it

is void because it contains an illegal provision to “use Force” against the inhabitants and outright

owners by succession of the Louisiana Territory.

           To establish a violation of the Sherman Act under provision making illegal every

contract, combination, or conspiracy in restraint of trade, plaintiffs must show that the defendants


48   Huffman v. Prudential Ins. Co. of Am., 2:10-CV-05135, 2017 WL 6055225, at (E.D. Pa. Dec. 7, 2017)
49
     Downes v. Bidwell, 182 U.S. 244, 280, 21 S.Ct. 770, 784, 45 L.Ed. 1088 (1901)
50   Id


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(1) engaged in a conspiracy (2) that produced some anti-competitive effect (3) in the relevant

market.51 Plaintiff shows this court through relevant facts gleaned from the seminal cases on the

doctrine of discovery and doctrine of Conquest that the defendant’s engaged in a conspiracy that

produced anti-competitive effect in a relevant market, real estate.

a)      America, the New World, separated from Europe by a wide ocean, was inhabited by a
distinct people, divided into separate nations, independent of each other and of the rest of the
world, having institutions of their own, and governing themselves by their own laws. Worcester
v. State of Ga., 31 U.S. 515, 542–43, 8 L.Ed. 483 (1832)

b)     American: n. A native of America originally applied to the aboriginals or copper-
colored races, found here by Europeans. American Dictionary of English Language,
Webster, Noah 1828 Vol 1 pg 12

c)      The American Race - is marked by a brown complexion, long. black, lank hair, and
deficient beard. The eyes are black and deep set, the brow low, the cheek-bones high, the nose
large and aquiline, the mouth large, and the lips tumid and compressed. The skull is small, wide
between the parietal protuberance, prominent at the vertex, and flat on the Occiput. Samuel
George Morton, Crania Americana; or a comparative view of the skulls of various Aboriginal
Nations of North and South America pg. 6 (1839)




51   Teladoc, Inc. v. Texas Med. Bd., 112 F.Supp.3d 529 (W.D. Tex.2015)

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      American Iberian Original                         Assimilated Negro

              Above: Papa Tom (Thomas) Moses Grandfather of William Moses Jr

d)      Soon after Great Britain determined on planting colonies in America, the king granted
charters to companies of his subjects, who associated for the purpose of carrying the views of the
crown into effect, and of enriching themselves. The first of these charters was made before
possession was taken of any part of the country. Worcester v. State of Ga., 31 U.S. 515, 517, 8
L.Ed. 483 (1832)

e)     They purport generally to convey the soil, from the Atlantic to the South Sea. This soil
was occupied by numerous and warlike nations, equally willing and able to defend their
possessions. Worcester v. State of Ga., 31 U.S. 515, 517, 8 L.Ed. 483 (1832)

f)     The extravagant and absurd idea, that the feeble settlements made on the sea coast, or the
companies under whom they were made, acquired legitimate power by them to govern the
people, or occupy the lands from sea to sea, did not enter the mind of any man. id

g)      They were well understood to convey the title which, according to the common law of
European sovereigns respecting America, they might rightfully convey, and no more. Worcester
v. State of Ga., 31 U.S. 515, 517, 8 L.Ed. 483 (1832)




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h)     This was the exclusive right of purchasing such lands as the natives were willing to sell.
The crown could not be understood to grant what the crown did not affect to claim, nor was it so
understood. id

i)     Certain it is, that our history furnishes no example, from the first settlement of this
country, of any attempt, on the part of the crown, to interfere with the internal affairs of the
Indians, farther than to keep out the agents of foreign powers, who, as traders or otherwise, might
seduce them into foreign alliances. id

j)      The king purchased their lands when they were willing to sell, at a price they were
willing to take; but never coerced a surrender of them. He also purchased their alliance and
dependence by subsidies; but never intruded into the interior of their affairs, or interfered with
their self-government, so far as respected themselves only. Worcester v. State of Ga., 31 U.S.
515, 517, 8 L.Ed. 483 (1832)

k)      It is difficult to comprehend the proposition, that the inhabitants of either quarter of the
globe could have rightful original claims of dominion over the inhabitants of the other, or over
the lands they occupied; or that the discovery of either by the other should give the discoverer
rights in the country discovered, which annulled the pre-existing rights of its ancient possessors.
Worcester v. State of Ga., 31 U.S. 515, 542–43, 8 L.Ed. 483 (1832)

l)      After lying concealed for a series of ages, the enterprise of Europe, guided by nautical
science obtained from moors, conducted some of her adventurous sons into this western world.
They found it in possession of a people who had made small progress in agriculture or
manufactures, and whose general employment was war, hunting, and fishing. Worcester v. State
of Ga., 31 U.S. 515, 543, 8 L.Ed. 483 (1832)

m)     The great maritime powers of Europe discovered and visited different parts of this
continent at nearly the same time. id

n)     The object was too immense for any one of them to grasp the whole; and the claimants
were too powerful to submit to the exclusive or unreasonable pretensions of any single potentate.
id

o)     To avoid bloody conflicts, which might terminate disastrously to all, it was necessary for
the nations of Europe to establish some principle which all would acknowledge, and which
should decide their respective rights as between themselves. Id

p)     This principle, suggested by the actual state of things, was, ‘that discovery gave title to
the government by whose subjects or by whose authority it was made, against all other European
governments, which title might be consummated by possession.’ Worcester v. State of Ga., 31
U.S. 515, 543–44, 8 L.Ed. 483 (1832)

q)      This principle, acknowledged by all Europeans, because it was the interest of all to
acknowledge it, gave to the nation making the discovery, as its inevitable consequence, the sole
right of acquiring the soil and of making settlements on it. Worcester v. State of Ga., 31 U.S.
515, 544, 8 L.Ed. 483 (1832)




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r)     It was an exclusive principle which shut out the right of competition among those who
had agreed to it; not one which could annul the previous rights of those who had not agreed to it.
Worcester v. State of Ga., 31 U.S. 515, 544, 8 L.Ed. 483 (1832)

s)      It regulated the right given by discovery among the European discoverers; but could not
affect the rights of those already in possession, either as aboriginal occupants, or as occupants by
virtue of a discovery made before the memory of man. Worcester v. State of Ga., 31 U.S. 515,
544, 8 L.Ed. 483 (1832)

t)      It gave the exclusive right to purchase but did not found that right on a denial of the right
of the possessor to sell. Worcester v. State of Ga., 31 U.S. 515, 544, 8 L.Ed. 483 (1832)

u)      The settled doctrine of the law of nations is, that a weaker power does not surrender its
independence—its right to self-government, by associating with a stronger power, and taking its
protection. Worcester v. State of Ga., 31 U.S. 515, 520, 8 L.Ed. 483 (1832)

v)    A weak state, in order to provide for its safety, may place itself under the protection of
one more powerful, without stripping itself of the right of government, and ceasing to be a state.
Worcester v. State of Ga., 31 U.S. 515, 520, 8 L.Ed. 483 (1832)

w)      Examples of this kind are not wanting in Europe. ‘Tributary and feudatory states,’ says
Vattel, ‘do not thereby cease to be sovereign and independent states, so long as self-government
and sovereign and independent authority are left in the administration of the state.’id

x)     At the present day, more than one state may be considered as holding its right of self-
government under the guarantee and protection of one or more allies. Worcester v. State of Ga.,
31 U.S. 515, 520, 8 L.Ed. 483 (1832)

y)      Did these adventurers, by sailing along the coast, and occasionally landing on it, acquire
for the several governments to whom they belonged, or by whom they were commissioned, a
rightful property in the soil, from the Atlantic to the Pacific; or rightful dominion over the
numerous people who occupied it?

z)     Or has nature, or the great Creator of all things, conferred these rights over hunters and
fishermen, on agriculturists and manufacturers? Worcester v. State of Ga., 31 U.S. 515, 543, 8
L.Ed. 483 (1832)

aa)     In his Notes on the State of Virginia, Thomas Jefferson referred to the detrimental effect
on the Aboriginal occupants of spirituous liquors, pox, and diminution of available land to “a
people who live principally on the spontaneous productions of nature. Coleman v. U.S. Bureau
of Indian Affairs, 715 F.2d 1156, 1157 (7th Cir.1983)

bb)   Jefferson noted, “That the lands of this country were taken from them by conquest….
Coleman v. U.S. Bureau of Indian Affairs, 715 F.2d 1156, 1157 (7th Cir.1983)

cc)    The Constitution framed in 1787 at Philadelphia empowered the federal government to
“regulate Commerce with foreign Nations, and among the several States, and with the Indian
Tribes (negro, Free people of Color). Coleman v. U.S. Bureau of Indian Affairs, 715 F.2d 1156,
1157 (7th Cir.1983)


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dd)     “That instrument confers on congress the powers of war and peace; of making treaties,
and of regulating commerce with foreign nations, and among the several states, and with the
Indian tribes. These powers comprehend all that is required for the regulation of European and
United States Government intercourse with the Aboriginal occupants.” Coleman v. U.S. Bureau
of Indian Affairs, 715 F.2d 1156, 1157–58 (7th Cir.1983)

ee)    The treaties and laws of the United States contemplate the Indian territory as completely
separated from that of the states; and provide that all intercourse with them shall be carried on
exclusively by the government of the Union. Coleman v. U.S. Bureau of Indian Affairs, 715 F.2d
1156, 1158 (7th Cir.1983)

ff)    Hence, State Governments like Georgia could not constitutionally subject American
negroid free people of color to imprisonment … under the authority of the President of the
United States. Coleman v. U.S. Bureau of Indian Affairs, 715 F.2d 1156, 1158 (7th Cir.1983)

gg)    This decision was the occasion for the remark allegedly made by President Andrew
Jackson: “Well, John Marshall has made his decision, now let him enforce it Coleman v. U.S.
Bureau of Indian Affairs, 715 F.2d 1156, 1158 (7th Cir.1983)

hh)     In this case Marshall applied the doctrine of title by discovery, giving to the European
nation first settling an American colony the right of pre-emption, “the exclusive right of
purchasing such lands as the aboriginal occupants were willing to sell.”9 Coleman v. U.S. Bureau
of Indian Affairs, 715 F.2d 1156, 1158 (7th Cir.1983)

ii)     This principle had been formulated in Johnson and Graham's Lessee v. McIntosh, 8
Wheat. 543, 574, 5 L.Ed. 681 (1823), where it was held that a title granted by Indian tribes
themselves in 1773 and 1775, without the intervention of the United States government, was
invalid. Coleman v. U.S. Bureau of Indian Affairs, 715 F.2d 1156, 1158 (7th Cir.1983)

jj)     The court held that the Aboriginal occupants had a right to occupy the lands which they
inhabited, “but their rights to complete sovereignty, as independent nations, were necessarily
diminished, and their power to dispose of the soil, at their own will, to whomsoever they pleased,
was denied by the original fundamental principle, that discovery gave exclusive title to those
who made it.” Coleman v. U.S. Bureau of Indian Affairs, 715 F.2d 1156, 1158 (7th Cir.1983)

kk)    The European nations “asserted the ultimate dominion to be in themselves and claimed
and exercised, as a consequence of this ultimate dominion, a power to grant the soil, while yet in
the possession of the Black Original occupants. Coleman v. U.S. Bureau of Indian Affairs, 715
F.2d 1156, 1158 (7th Cir.1983)

ll)     These grants have been understood by all, to convey a title to the grantees, subject only to
the Indian right of occupancy.” Coleman v. U.S. Bureau of Indian Affairs, 715 F.2d 1156, 1158
(7th Cir.1983)

mm) Insofar as the negro Aboriginal occupants were concerned, Marshall explains: “The
potentates of the old world found no difficulty in convincing themselves, that they made ample
compensation to the Black inhabitants of the new, by bestowing on them Civilization and
Christianity, in exchange for unlimited independence.”11 Coleman v. U.S. Bureau of Indian
Affairs, 715 F.2d 1156, 1158 (7th Cir.1983)


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nn)    The 1795 Spanish Treaty of Friendship acknowledges the Atakapa to be a Sovereign and
independent Superpower capable of domestic and international commerce with both the United
States and Spain. By the language of the Spanish treaty, the Atakapa Indians are business
partners with Spain and the United States at Post d’Atakapa.

oo)     By a secret treaty, which was executed about the same time, France ceded Louisiana to
Spain; and Spain has since retroceded the same country to France. At the time both of its cession
and retrocession, it was occupied, chiefly, by the Original American negroid People. Johnson v.
M'Intosh, 21 U.S. 543, 584, 5 L.Ed. 681 (1823)

pp)     A contract cannot be altered by one of the parties to it. Dougherty v. United States, 5
Ct.Cl. 108, 113 (1869)

qq)    The United States did not purchase Louisiana from its original Black negro inhabitants.
The alleged purchase of Louisiana was the purchase from France of a country almost entirely
occupied by numerous tribes of aboriginal Indians, who are in fact independent. Yet, any attempt
of others to intrude into that country, would be considered as an aggression which would justify
war. Johnson v. M'Intosh, 21 U.S. 543, 587, 5 L.Ed. 681 (1823)

rr)     Conquest gives a title which the Courts of the conqueror cannot deny, whatever the
private and speculative opinions of individuals may be, respecting the original justice of the
claim which has been successfully asserted. Johnson v. M'Intosh, 21 U.S. 543, 588–89, 5 L.Ed.
681 (1823)

ss)     The British Empire, which was then the United States government, and whose rights have
passed to the United States, asserted title to all the lands occupied by Indians, within the
chartered limits of the British colonies. It asserted also a limited sovereignty over them, and the
exclusive right of extinguishing the title which occupancy gave to them. Johnson v. M'Intosh, 21
U.S. 543, 588–89, 5 L.Ed. 681 (1823)

tt)     These claims have been maintained and established as far west as the river Mississippi,
by the sword. The title to a vast portion of the lands we now hold, originates in them. It is not for
the Courts of this country to question the validity of this title, or to sustain one which is
incompatible with it. Johnson v. M'Intosh, 21 U.S. 543, 588–89, 5 L.Ed. 681 (1823)

uu)     Although we do not mean to engage in the defense of those principles which Europeans
have applied to Aboriginal Indian title, they may, we think, find some excuse, if not justification,
in the character and habits of the people whose rights have been wrested from them. Johnson v.
M'Intosh, 21 U.S. 543, 588–89, 5 L.Ed. 681 (1823)

vv)     The title by conquest is acquired and maintained by force. The conqueror prescribes its
limits. Humanity, however, acting on public opinion, has established, as a general rule, that the
conquered shall not be wantonly oppressed, and that their condition shall remain as eligible as is
compatible with the objects of the conquest. Johnson v. M'Intosh, 21 U.S. 543, 588–89, 5 L.Ed.
681 (1823)

ww) When the conquest is complete, and the conquered inhabitants can be blended with the
conquerors, or safely governed as a distinct people, public opinion, which not even the conqueror



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can disregard, imposes these restraints upon him; and he cannot neglect them without injury to
his fame, and hazard to his power. Johnson v. M'Intosh, 21 U.S. 543, 589–90, 5 L.Ed. 681 (1823)

xx)     Most usually, the conquered are incorporated with the victorious nation, and become
subjects or citizens of the government with which they are connected. The new and old members
of the society mingle with each other; the distinction between them is gradually lost, and they
make one people. Johnson v. M'Intosh, 21 U.S. 543, 588–89, 5 L.Ed. 681 (1823)

yy)     But the tribes of Indians inhabiting this country were fierce savages, whose occupation
was war, and whose subsistence was drawn chiefly from the forest. To leave them in possession
of their country, was to leave the country a wilderness; to govern them as a distinct people, was
impossible, because they were as brave and as high spirited as they were fierce and were ready to
repel by arms every attempt on their independence. Johnson v. M'Intosh, 21 U.S. 543, 590, 5
L.Ed. 681 (1823)

zz)     What was the inevitable consequence of this state of things? The Europeans are under the
necessity either of abandoning this country, and relinquishing their pompous claims to it, or of
enforcing their claims by the sword, and by the adoption of principles adapted to the condition of
a people with whom it was impossible to mix, and who could not be governed as a distinct
society, or of remaining in their neighborhood. Johnson v. M'Intosh, 21 U.S. 543, 590, 5 L.Ed.
681 (1823)

aaa) A policy of assimilation, rather than of preservation of ethnic heritage and tribal customs,
came to the fore. As expressed in 1889 by Indian Commissioner Thomas J. Morgan: “The
Indians, people of color, must conform to ‘the white man's way,’ peaceably if they will, forcibly
if they must. Coleman v. U.S. Bureau of Indian Affairs, 715 F.2d 1156, 1159 (7th Cir.1983

bbb) They must adjust themselves to their environment and conform their mode of living
substantially to our civilization.... They cannot escape it, and must either conform to it or be
crushed by it ... The tribal relations should be broken up, socialism destroyed, and the family and
the autonomy of the individual substituted. Coleman v. U.S. Bureau of Indian Affairs, 715 F.2d
1156, 1159 (7th Cir.1983

ccc) The allotment of lands in severalty, the establishment of local courts and police, the
development of a personal sense of independence, and the universal adoption of the English
language, are means to this end.... The American Indian is to become the Indian American.”
Coleman v. U.S. Bureau of Indian Affairs, 715 F.2d 1156, 1159 (7th Cir.1983)5253

ddd) Where this incorporation is practicable, humanity demands, and a wise policy requires,
that the rights of the conquered to property should remain unimpaired; that the new subjects
should be governed as equitably as the old, and that confidence in their security should gradually
banish the painful sense of being separated from their ancient connexions, and united by force to
strangers. Johnson v. M'Intosh, 21 U.S. 543, 588–89, 5 L.Ed. 681 (1823)

The British European men who framed the Constitution, and the European Anglo Saxon people
who adopted it, were unwilling to depend for their safety upon what, in the opinion referred to, is
52   Apology to Indians, and misclassification as African American
53   Apology for Slavery


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described as ‘certain principles of natural justice inherent in Anglo-Saxon character, which need
no expression in constitutions or statutes to give them effect or to secure dependencies against
legislation manifestly hostile to their real interests.’54

They proceeded upon the theory—the wisdom of which experience has vindicated—that the only
safe guaranty against governmental oppression was to withhold or restrict the power to oppress.

They well remembered that Anglo-Saxons across the ocean had attempted, in defiance of law
and justice, to trample upon the rights of Anglo-Saxons on this continent, and had sought, by
military force, to establish a government that could at will destroy the privileges that inhere in
liberty.55

They believed that the establishment here of a government that could administer public affairs
according to its will, unrestrained by any fundamental law and without regard to the inherent
rights of free men, would be ruinous to the liberties of the people by exposing them to the
oppressions of arbitrary power.56

        Applying these same principles to the case before this court, British European Anglo-

Saxons from across the ocean in defiance of law and justice, trampled upon the succession rights

of the American Aboriginal negro people on this continent, and by military force established an

illegal police state that “at will” destroys the privileges and immunities that inhere in Royal

Devine Sovereign Immunity.57 Separation from ancient customs and property causes immediate,

Ongoing, Irreparable Harm “[L]oss of constitutional Rights or Human Rights, for even minimal

periods of time, unquestionably constitutes irreparable injury.58 As a result, “[w]hen an alleged

deprivation of a constitutional right or Human Rights is involved, most courts hold that no

further showing of irreparable injury is necessary.”59 The threat of separation and any actual

separation causes immediate, ongoing, severe trauma as would any period of forced separation,

for which no remedy at law is available.

        7. Right of Election to become citizens of the United States



54
     Downes v. Bidwell, 182 U.S. 244, 381–82, 21 S.Ct. 770, 823, 45 L.Ed. 1088 (1901)
55 id
56 id
57 id
58 Mills v. Dist. of Columbia, 571 F.3d 1304, 1312 (D.C. Cir. 2009) (citations omitted).
59 11A WRIGHT &MILLER, FED. PRAC. &PROC. § 2948.1 (2d ed. 2004).




                                                         27
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         The Tobin v. Walkinshaw action was an ejectment, and defendants pleaded to the

jurisdiction of the court, on the ground that Alexander Forbes, one of the defendants, was not an

alien and subject of Great Britain, as alleged in the complaint.60 To sustain their plea, defendants

relied on the admitted facts, that said Forbes, a native of Great Britain, was at the date of the

treaty of Guadalupe Hidalgo February 2, 1848, a naturalized citizen of Mexico, that he has

continued to reside in California since the execution of the treaty, and that he has never made any

declaration of an intention to retain the rights of a Mexican citizen. id

         The consideration of this argument involves, to some extent, a construction of the article of

the treaty of Guadalupe Hidalgo, upon which it is predicated. id This article stipulates as to those

Mexicans who should prefer to remain in the ceded territory, that they may either retain the title

and rights of Mexican citizens, or acquire those of United States citizens; but declares that they

shall be under the obligation to make their election, within one year from the date of the

exchange of the ratification of the treaty, and those who shall remain after the expiration of that

year, without having declared their intention to retain the character of Mexican citizens, shall be

considered to have elected to become citizens of the United States.id

         By a principle of international law, on a transfer of territory by one nation to another, the

political relations between the inhabitants of the ceded country and the former government are

changed, and new ones arise between them and the new government.61 The contracting parties

have the right to contract to transfer and to receive, respectively, the allegiance of all native-born

citizens, but the naturalized citizens, who owe allegiance purely statutory, when released

therefrom, are remitted to their original status.id in this case, the United States and Spain in the

1795 Spanish Treaty did not contract to transfer and to receive the allegiance of the indigenous-

born Atakapa Indians of Post des Atakapa located in New Iberia. id Instead the parties contracted


60   Tobin v. Walkinshaw, 23 F.Cas. 1346 (C.C.N.D. Cal.1856)
61   Tobin v. Walkinshaw, 23 F.Cas. 1346 (C.C.N.D. Cal.1856)


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to refrain from seeking allegiance of the Indian Nation and only enter into treaties of friendship

with the Indian Nations located in Spanish Louisiana Territory. Id

     This right to change the political relations of the inhabitants of a ceded territory arises out

of the character of those relations as recognized by the law of nature and nations.id Birth binds

man by the tie of natural allegiance to his native soil, and such allegiance gives, by the principles

of universal law, to the country in which he was born rights unknown to mere voluntary or

statutory allegiance.id Upon the right to transfer this natural allegiance has been engrafted, this

right of election in the party whether he will retain his allegiance to his old sovereign, or pay

allegiance to the new.id Should he elect to retain his allegiance, he must do so without injury to

the new government; and such election is generally accompanied by removal from the country,

unless regulated by treaty.id

     8. An Indigenous American of the Louisiana Territory is not a United States Citizen
     President Thomas Jefferson made this point clear in his message to Jean Baptist De Coinge

wherein he stated as follows:

                     i. President Thomas Jefferson – message to Indian, Jean Baptist de Coigne

               We, like you, are Americans, born in the same land, and having the
               same interests.

               Our forefathers were Englishmen, inhabitants of a little island
               beyond the great water, and, being distressed for land, they came
               and settled here.

     Thomas Jefferson and all persons like him are British Anglo-saxons. President Thomas

Jefferson could only be American if his family were indigenous born men of negroid heritage.

President Thomas Jefferson and men like him hold the same position in America as Mr.

Alexander Forbes did in Tobin v. Walkinshaw born in our land or not.

     And by this court’s own law should be naturalized Citizens of America or deported back to

England or the region of their European or anglo-saxon heritage. The court considering the


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anglo-saxon Europeans without the provisions of a treaty with the original people to be present

in this land, his claim to be a citizen of the United States under one cannot be sustained; and he

stood at the execution of the Spanish treaty, and now stands, where his acts and declarations and

original status have placed him—an alien, and subject of Great Britain or the counrtry or territory

of anglo-saxons.id

          Mr. C.J. Ingersoll who introduced the resolution of annexation upon this subject said

upon that occasion:

                  "The stupendous deserts between the Nueces and the Bravo [the
                  Rio Grande or Del Norte] rivers are the natural boundaries between
                  the Anglo-Saxon and the Mauritanian races. There ends the valley
                  of the west. There Mexico begins. Thence, beyond the Bravo,
                  begin the Moorish people and their Indian associates, to whom
                  Mexico properly belongs, who should not cross that vast desert if
                  they could, as on our side we too ought to stop there, because
                  interminable conflicts must ensue from either our going south or
                  their coming north of that gigantic boundary. While peace is
                  cherished, that boundary will be sacred. Not till the spirit oi
                  conquest rages will the people on either side molest or mix with
                  each other; and, whenever they do, one or the other race must be
                  conquered, if not extinguished."62

        9. European invaders cannot impose its nationality on natural born residents of subjugated
            country without their consent.

          Under international law, inhabitants of territory transferred to new sovereign by conquest

or cession become nationals of new government only by their own consent express or implicit.63

The Christian Emperor D’Orleans Edward Moses Jr has not given his consent to become a

national under the United States Government or the State of Louisiana. Thus, the United States

cannot impose its nationality through the sadistic Doctrine of Conquest on the ROYAL

CROWN, LTD.


62
 Mr. Stephens of Georgia, on the Subject of the Mexican War, Delivered in the
House of Representatives, U.S. June 16, 1846 (pg. 13)
63
     U.S. ex rel. Schwarzkopf v. Uhl, 137 F.2d 898 (2d Cir.1943)


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      10. Conflict of interest exists between guardian and ward; appointment of Guardian ad
          litem is necessary

        A conflict of interest in this case exists between the Anglo-Saxon United States and the

Anglo-Saxon State of Louisiana government as guardian and the American Aboriginal, Atakapa

Indian de Creole Nation as ward with regard to Aboriginal title of land which the Anglo-Saxon

based US Courts claim is an equitable possessory interest, which is not superior to that possessed

by the Anglo-Saxon United States, the alleged title holder.64 While executor or administrator of

an estate takes title to property of decedent, guardian of person of minor or other incompetent

has no interest in his ward's property and guardian of his estate does not take legal title to the

property, which remains in the ward, but merely acts as its custodian or manager.65                      When

conflict of interest exists between guardian and ward, the court is required to determine whether

appointment of guardian ad litem is necessary to protect the interests of the ward even if

incompetent already has a general representative, and where conflict of interest becomes

apparent early in the litigation, appointment of guardian ad litem would be the customary and

appropriate course.66

        The conflict in this instance is apparent, the United States Anglo-Saxons as guardian of

the Aboriginal Louisiana Indians, the United States allegedly purchased the vast Aboriginal

ancestral lands from France and East and West Florida from Spain; but that’s not the case,

according to the United States Federal Judiciary the US Anglo-Saxons actually obtained

possession of the Historic Louisiana Territory by conquest and is holding the Aboriginal lands

and people by force. But the Christian Emperor D’Orleans claims a vested right in New Spain or

French Louisiana through intestate succession. His Majesty provided this court with a judgment

of possession from the intestate succession of William Moses Jr wherein the descendants of
64
   Alabama-Coushatta Tribe of Texas v. United States, 757 F.3d 484 (5th Cir.2014)
65 McSparran v. Weist, C.A.3 (Pa.) 1968, 402 F.2d 867, certiorari denied 89 S.Ct. 1739, 395 U.S. 903, 23 L.Ed.2d
217.
66 Eagan by Keith v. Jackson, E.D.Pa.1994, 855 F.Supp. 765. Fed. R. Civ. P. 17VCCV




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William Moses Jr obtained vested rights in his family’s tribal or other property under 8 USCA

1401. Consequently, the Anglo-Saxon Europeans’ sadistic doctrine of Conquest illegally affects

his Majesty’s enjoyment of family tribal names, lands, and property. [Rec Doc 1.3 pg 15-35]

Thus, a conflict ensues. This court is required to determine whether appointment of guardian ad

litem over the historic Louisiana territory is necessary to protect the interests of the Christian

Emperor D’Orleans Edward Moses Jr. trust protector of the Tribe of ‫ מֶשׁה‬Moses also known as

the Atakapa Indian de Creole Nation.

     11. U.S. Const. art. VI, cl. 2 Supreme Law of the Land specifically states:
               This Constitution, and the Laws of the United States which shall be
               made in Pursuance thereof; and all Treaties made, or which shall
               be made, under the Authority of the United States, shall be the
               supreme Law of the Land; and the Judges in every State shall be
               bound thereby, anything in the Constitution or Laws of any State to
               the Contrary notwithstanding.

       The United States ratified both the 1795 Spanish Treaty. and the 1800 French Treaty.

Thus, both treaties were made under authority of the United States. Therefore, both treaties are

the supreme law of the land; and the Judges in every State are bound thereby, anything in the

constitution or laws of any state to the contrary notwithstanding.

     12. The French Convention of 1800 between the French Republic and the United States:
               The Citizens, and inhabitants of the United States shall be at liberty
               to dispose by testament, donation, or otherwise, of their goods,
               moveable, and immoveable, holden in the territory of the French
               Republic in Europe, and the Citizens of the French Republic, shall
               have the same liberty with regard to goods, moveable, and
               immoveable, holden in the territory of the United States, in favor
               of such persons as they shall think proper.

               The Citizens and inhabitants of either of the two countries, who
               shall be heirs of goods, moveable, or immoveable in the other shall
               be able to succeed ab intestato, without being obliged to obtain
               letters of naturalization, and without having the effect of this
               provision contested or impeded under any pretext whatever: and
               the said heirs, whether such by particular title, or ab intestato, shall
               be exempt from every duty whatever in both countries….


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           The ultimate ending is that the Christian Emperor D’ Orleans Edward Moses Jr, is an heir

of the Royal Family of the Atakapa Indian Nation, the Tribe of ‫ מֶשׁה‬Moses ancient residents of

New Iberia, La. The Royal Family’s inheritance is the Land formerly known as New Spain or

New Iberia and a Domestic and International commercial business with the United States and

with Spain respectively. His Majesty possesses a vested right to claim his family inheritance and

to recover his family’s succession property without having the effect of this provision contested

or impeded under any pretext whatever.

           The Supreme Court in National Society of Professional Engineers v. United States

instructed that a district court is empowered to fashion appropriate restraints on a defendant's

future activities “both to avoid a recurrence of the violation and to eliminate its consequences.”67

Thus, so long as the injunctive relief is “a reasonable method of eliminating the consequences of

the illegal conduct,” it may be rendered. Id. The beneficiaries make a special election to this

court to appoint guardian ad litem over the historic Louisiana territory, New Spain or New Iberia

named after the Iberian Peninsula as a necessary to protect the interests of the Christian Emperor

D’Orleans Edward Moses Jr. trust protector of the Tribe of ‫ מֶשׁה‬Moses also known as the

Atakapa Indian de Creole Nation.

         13. Oil and Gas Leases
           The Land known as New Spain or Spanish Louisiana is not under the United States

dominion. Rather the United States and Louisiana are acting as guardians over the property of

the Atakapa Indians. Where guardian secured secret interest in oil and gas lease granted in

ward's lands, ward need not show damage to procure relief.68 Ward held entitled to proceeds of

guardian's fraudulent grant of oil and gas lease, where decree of cancellation was impossible as

67
     National Society of Professional Engineers v. United States 435 U.S. at 697, 98 S.Ct. at 1368 (citations
omitted).
68   United States v. Dunn, 268 U.S. 121, 45 S.Ct. 451, 69 L.Ed. 876 (1925)


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 against innocent purchaser. Id If the Sadistic European Doctrine of Conquest is allowed to

 prevail over the Rights vested in the Christian Emperor D’Orleans through the succession of

 William Moses Jr then his Majesty, his people, subjects, and assigns will suffer irreparable harm

 for which money cannot correct.




III. that an injunction would not substantially injure other interested parties

                 1. 111TH CONGRESS 1ST SESSION S. J. RES. 14 ACKNOWLEDGMENT
                     AND APOLOGY to American Native people. — The United States, acting
                     through Congress

        APRIL 30, 2009 Congress issued a Joint Resolution to acknowledge a long history of

 official depredations and ill-conceived policies by the Federal Government regarding Indian

 tribes and offered an apology to all Native Peoples on behalf of the United States.

                 2. 111TH CONGRESS 1ST SESSIONS. CON. RES. 26 Congress’ Apology to
                     “African-Americans” for slavery and Jim Crow Laws

         Resolved by the Senate (the House of Representatives concurring), that the sense of the

 Congress is the following:

                 (1) APOLOGY       FOR THE ENSLAVEMENT                            AND
                     SEGREGATION OF AFRICAN-AMERICANS.                            —The
                     Congress— (A)

                     acknowledges the fundamental injustice, cruelty, brutality, and
                     inhumanity of slavery and Jim Crow laws; (B) apologizes to
                     African Americans on behalf of the people of the United
                     States, for the wrongs committed against them and their
                     ancestors who suffered under slavery and Jim Crow laws….




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           So long as the injunctive relief is “a reasonable method of eliminating the consequences

of the illegal conduct,” it may be rendered. Id. A preliminary and a permanent injunction

transferring New Spain or Spanish Louisiana to the Tribe of Moses express spend Thrift Trust as

guardian ad litem is a reasonable method of eliminating the consequences of the illegal Doctrine

of Title by Discovery and the Sadistic Doctrine of Conquest.

                    3. United States and Louisiana (New Spain) conveyance of Land and water
                        Titles

           Edward Moses Jr’s inheritance through intestate succession formerly known as New

Spain or New Iberia named after the Iberian Peninsula. An absolute title to lands cannot exist, at

the same time, in different persons, or in different governments. An absolute, must be an

exclusive title, or at least a title which excludes all others not compatible with it. All of the

United States institutions recognize the absolute title of the crown, subject only to the Indian

right of occupancy, and they recognize the absolute right of the crown to extinguish that

right…69 and All of the United States institution recognize that the waters of the Mississippi and

the lands of New Spain or Spanish Louisiana as a Sovereign Nation.

                    4. Violation of the Commerce Clause of the United States Constitution (U.S.
                        Const. art. I, § 8, cl. 3)

           The anticompetitive conduct in this case is not a foreseeable result of authority granted by

the state. The State of Louisiana incorporated “the Council”, but the State of Louisiana’s

restraint on trade frustrates interstate commerce because it did not grant the Council for Black

Men and Boys authority to engage in corporate commercial trade. Municipal and state agencies

are immune from antitrust laws only if actions taken were pursuant to “clearly articulated” state

policy, and agency is acting pursuant to clearly articulated policy so long as anticompetitive




69   Johnson v. M'Intosh, 21 U.S. 543, 588, 5 L.Ed. 681 (1823)


                                                          35
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 conduct is foreseeable result of authority granted by state.70 The State of Louisiana cannot

 clearly articulate a state policy that completely denies corporate commercial power to a

 corporation created for the success of black men and boys. There can be no success without the

 ability to engage in interstate commerce.

           The Atakapa Indian de Creole Nation (the “Atakapas”) is an absolute sovereign

 indigenous nation of Louisiana, despite the United States having taken possession of the

 Atakapas' historical tribal land and trading and military posts in present day New Orleans, St.

 Martinville, Opelousas, New Iberia, Lafayette, Baton Rouge and Lake Charles, Louisiana. Just

 like the Council for the Success of Black Men and Boys, the Atakapas “are being held as wards

 of the State through the Louisiana Governor's office ... [a]nd in pupilage under [the] United

 States[.]”71 His Majesty requests that a TEMPORARY RESTRAINING ORDER and

 preliminary and permanent Injunctions Issue without Notice to the adverse parties to enjoin and

 restrain the sadistic European Doctrine of Title by Discovery and their sadistic Doctrine of

 Conquest thereby releasing the American Iberian Empire.

IV. Public Interest Favors a Temporary Restraining Order and preliminary and permanent
    injunction.

          U.S. News & World Report named Louisiana the worst state in the U.S. in its latest

 ranking comparing health care, education, infrastructure and other aspects of day-to-day life

 across the country.72        When the Court grants this TRO and preliminary injunction and

 permanent Injunction, the United States Government will incur no harm. The Law of Nations

 expressly states that one state owes to another state whatever it owes to itself, so far as that other

 stands in real need of its assistance, and the former can grant it without neglecting the duties it



 70
      Jackson v. W. Indian Co., Ltd., 944 F.Supp. 423 (D.V.I.1996)
 71
    Atakapa Indian de Creole Nation v. Louisiana, 6:18-CV-00190, 2018 WL 4222830, at *1 (W.D. La. July 23,
 2018), report and recommendation adopted, 6:18-CV-00190, 2018 WL 4089385 (W.D. La. Aug. 27, 2018)
 72 https://www.usnews.com/news/best-states/rankings




                                                      36
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owes to itself. Such is the eternal and immutable law of nature.73 Vattel, Emer de. Law of

Nations

       1. American-l’iberian Indian Tribe of ‫ מֶשׁה‬Moses Family Integrity
         His Majesty contends that his family integrity is compromised by the sadistic European

Doctrine of Title by Discovery and Doctrine of Conquest. His Majesty feels a painful sense of

being separated from his ancient connections, and united by force to strangers. The United States

has accepted responsibility for the injuries inflicted on his Majesty and his people. Plaintiffs

have an undisputed vested substantive due process right to family integrity. Substantive due

process protects parents’ interest in “family integrity, and the care custody, and control of their

children.”74 It also protects children’s liberty interest in family association and integrity.75

(“[T]here is a public interest in ensuring that [the child plaintiffs’] constitutional right to family

association and integrity is upheld.”);76 (“a child’s right to family integrity is concomitant to that

of a parent”). The factual distinction in this case is immaterial to Plaintiffs’ right to family

integrity. Furthermore, defendants themselves have an important interest in promoting the

CHRISTIAN EMPEROR, Edward Moses Jr and the Tribe of ‫ מֶשׁה‬Moses’ family integrity:

                The state also shares the interest of the parent and child in their
                family’s integrity,77 (“the parens patriae interest favors
                preservation, not severance of natural familial bonds”), because the
                welfare of the state depends in large part on the strength of the
                family.

     V. His Majesty is likely to Succeed at Trial

         In White v. Cannon, the United States Supreme Court affirming the Louisiana Supreme

Court, in effect, held: We part with the legal title by our patent, but we intend that it shall inure


73 Vattel, Emer de. The Law of Nations (Natural Law and Enlightenment Classics) (Kindle Locations 5355-5357).
74 M.G.U., 325 F. Supp. 3d at 119.
75 See M.M.M. v. Sessions, No. 18-cv-1832, Order Granting Plaintiffs’ Motion for Temporary Restraining Order

(S.D. Cal., August 16, 2018)
76 see, e.g., Wooley v. City of Baton Rouge, 211 F.3d 913, 923 (5th Cir. 2000)
77 see Santosky v. Kramer, 455 U.S. 745, 766-67 (1982)]




                                                     37
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to the party who actually inhabited and cultivated the land previous to February 22d, 1819, and

we allow this matter to be litigated before the judicial tribunals of the country, and to be

determined by them.78 I am him, under the Cestui Que Vie Act of 1666 I represent my

grandparents, and my ancestors through intestate succession of William Moses Jr as if they were

still living. It becomes then the ordinary case of a party acquiring, by false and fraudulent

means, legal title to property to which another has the better right, and which he would have

obtained, had the facts, as they existed been truly represented.79

        In such case, equity compels the holder of the legal title to transfer it to the party who

was justly entitled thereto.80 Wherefore, the beneficiaries make a special election to this court to

appoint the Tribe of ‫ מֶשׁה‬Moses express trust as guardian ad litem over the historic Louisiana

territory, New Spain or New Iberia named after the Iberian Peninsula as a necessary to protect

the interests of the Christian Emperor D’Orleans.

                 1. Jurisdiction – United States and Louisiana;
        The Louisiana Purchase Treaty was and is void, and was made without authority of law,

and was never validated, the right of property being in the Tribe of ‫ מֶשׁה‬Moses express

Spendthrift Trust, the United States Anglo Saxon government, having entered upon the

Louisiana Territory realty, is to be deemed as having entered as a tenant under an implied lease,

and is bound to pay as rent the just compensation secured by the Constitution to those whose

property is taken for public use.81




78 White v. Cannon, 73 U.S. 443, 449, 18 L.Ed. 923 (1867)
79 State of Louisiana v. Judge of Commercial Court, 15 La. 192 (1840)
80 White v. Cannon, 73 U.S. 443, 449, 18 L.Ed. 923 (1867)
81
  Bradley to Use of Shepherd, to Use of Taylor, v. United States, 13 Ct.Cl. 166, 170 (1877),
aff'd sub nom. Bradley v. United States, 98 U.S. 104, 25 L.Ed. 105 (1878)

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                  2. The 1803 Louisiana Purchase Treaty is not law because it was not ratified by
                      the US Congress

           "The common law has long recognized the sanctity of a person’s home. Sir Edward

Coke, in The Institutes of the Laws of England, 1628 stated: "For a man's house is his castle, et

domus sua cuique est tutissimum refugium “and each man's home is his safest refuge."

           In Freedman's Sav. & Tr. Co. v. United States, The Court held that it had frequently had

occasion, when looking for analogies by which to ascertain the legal rights of claimants and

liabilities of the government, to treat Congress as the principal and the executive officers as the

agent.82 And if this were an action against an ordinary principal, not a shadow of doubt could

arise in any court as to his liability upon this lease.83 But the legislative branch of the government

is not an ordinary principal, and is not in all cases chargeable with knowledge of the acts of its

agents, and the questions which lie at the bottom of this case are, whether the agent had authority

to bind the government by the execution of the lease treaty; or whether his act, if without such

authority, has been ratified by his principal, which here is Congress?84

           Thomas Jefferson allegedly authored the Louisiana Purchase Treaty. The question here is

whether President Jefferson had authority to bind the United States Congress by the execution of

the Louisiana Purchase Treaty; or whether his act, without such authority, has been ratified by

Congress.85 In Downes v. Bidwell, President Thomas Jefferson stated that, “The Constitution

has made no provision for holding foreign territory, still less for incorporating foreign nations

into the United States Union.86 The Doctrine of Title by Discovery was well understood to

convey the title which, according to the common law of European sovereigns respecting




82
      Freedman's Sav. & Tr. Co. v. United States, 16 Ct.Cl. 19, 24 (1880)
83   id
84 Id
85 id
86 Downes v. Bidwell, 182 U.S. 244, 253, 21 S.Ct. 770, 774, 45 L.Ed. 1088 (1901)




                                                       39
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America, they might rightfully convey, and no more.87 This was the exclusive right of the British

Crown to purchase such lands as the Aboriginal negro natives were willing to sell. The crown

could not be understood to grant what the crown did not affect to claim, nor was it so

understood.88 The United States Anglo Saxon Executive, President Thomas Jefferson stated that,

“in seizing the fugitive occurrence of purchasing Aboriginal Ancestral Louisiana territory from

France through a treaty which so much advances the good of the United States, have done an act

beyond the Constitution.”’89

           Thus, Thomas Jefferson basically conceded that he did not have authority to bind the

United States Congress to the Louisiana Purchase Treaty. A lease or contract void under the

statute of frauds, for want of authority of the agent who executed it, will regulate the rights of the

parties during the actual existence of the tenancy.90 The rights and liabilities of the lessor and

lessee are to be measured and determined by the lease under which possession was obtained, and

it is not within the power of either party to change the terms of the tenancy without the assent of

the other.91 Thomas Jefferson further stated that ‘This treaty must, of course, be laid before both

Houses, because both have important functions to exercise respecting it.92 The United States

Congress did not ratify the 1803 Louisiana Purchase Treaty. Instead, Congress assembled on

October 17, 1803 then Thomas Jefferson, in his message to Congress referred the whole matter

to that body, saying that ‘with the wisdom of Congress it will rest to take those ulterior measures

which may be necessary for the immediate occupation and temporary government of the country;




87 Worcester v. State of Ga., 31 U.S. 515, 517, 8 L.Ed. 483 (1832)
88 id
89 Downes v. Bidwell, 182 U.S. 244, 253, 21 S.Ct. 770, 774, 45 L.Ed. 1088 (1901)
90
   Bradley to Use of Shepherd, to Use of Taylor, v. United States, 13 Ct.Cl. 166, 170 (1877),
aff'd sub nom. Bradley v. United States, 98 U.S. 104, 25 L.Ed. 105 (1878)
91   id
92   Downes v. Bidwell, 182 U.S. 244, 253, 21 S.Ct. 770, 774, 45 L.Ed. 1088 (1901)


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for its incorporation into the Union.’ Jefferson's Writings, vol. 8, p. 269.93 A contract cannot be

altered by one of the parties to it.94

           In Dougherty v. United States the Surgeon General Finley made a written application to

Quartermaster General for permission to rent the premises described, accompanying it with the

written proposition of Miss English, of the terms she would lease to the United States, under date

of June 24, 1861.95 On the same day the Surgeon General directs Captain Rucker to close the

contract with Miss English on the terms she proposes. On the same day General Rucker enters

into the contract on the terms proposed, promising, on behalf of the United States, to pay $300

per month, payable monthly, for the premises described, so long as the United States shall

occupy; the possession and rent to commence on the 1st day of July 1861.96

                  3. The April 30, 1803 Louisiana Purchase Treaty
           Article X states as follows,

                  “the present treaty Shall be ratified … and the ratifications Shall be
                  exchanged in the Space of Six months after the date of the
                  Signature by the Ministers Plenipotentiary or Sooner if possible.”

           The deadline for France and the United States to ratify the Louisiana Purchase Treaty was

October 30, 1803. Instead of ratifying the Louisiana Purchase treaty, the Anglo-Saxon United

States congress passed two bills, one on October 31, 1803, authorizing the President to take

possession of the territory and to continue the existing government, and the other November 10,

1803 congress approved “An Act authorizing the creation of a stock, to the amount of eleven

millions two hundred and fifty thousand dollars, for the purpose of carrying into effect the

convention of the thirtieth of April, one thousand eight hundred and three, between the United


93   id
94
   Dougherty v. United States, 5 Ct.Cl. 108, 113 (1869)
95
   id
96
   Id


                                                   41
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States and the French Republic; and making provision for the payment of the same. [exhibit C]

These acts continued in force until March 26, 1804, when a new act was passed providing for a

temporary government (2 Stat. at L. 283, chap. 38), and vesting all legislative powers in a

governor and legislative council, to be appointed by the President.97 Concede, for the sake of

argument, that the Louisiana Purchase Treaty was and is void, and was made without authority

of law, and was never validated; the right of property being in the Tribe of ‫ מֶשׁה‬Moses Express

Spendthrift Trust, the United States government having entered upon the Louisiana Territory

realty, is to be deemed as having entered as a tenant under an implied lease and is bound to pay

as rent the just compensation secured by the Constitution to those whose property is taken for

public use.98

            Inasmuch as this court should declare that the defendants are without a title, on the

ground that there is no Indian grant, nor any agreement, convention or treaty with the American

Iberians or Atakapa Indian de Creole Nation to which the President, the legal representative of

the Congress of the United States was a party.99; And in the absence of an express contract with

the Louisiana Aboriginal Indians, or when the express contract is void, the government, the State

of Louisiana and the United States is properly chargeable with the present value of the property

which it has received and used.100 A lease for years, though void as to the term of years, is good

for one year if the lessee enters, and the tenancy thereafter becomes a tenancy from year to

year.101 In this case, the United States is properly chargeable each year to pay the present value

of $12,000,000 plus $11,250,000 in stock together at 100% interest compounded daily for a year



97   Dougherty v. United States, 5 Ct.Cl. 108, 113 (1869)
98
   Bradley to Use of Shepherd, to Use of Taylor, v. United States, 13 Ct.Cl. 166, 170 (1877),
aff'd sub nom. Bradley v. United States, 98 U.S. 104, 25 L.Ed. 105 (1878)
99 Orleans Nav. Co. v. City of New Orleans, 2 Mart.(o.s.) 10, 27 (La. Super.1811)
100
    Bradley to Use of Shepherd, to Use of Taylor, v. United States, 13 Ct.Cl. 166, 170 (1877),
aff'd sub nom. Bradley v. United States, 98 U.S. 104, 25 L.Ed. 105 (1878)
101   id


                                                            42
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to year lease with the American Aboriginal Indians of Post D’Atakapa for an approximate total

of 400 years.

                    4. Annulment of 1795 Spanish Treaty
           The judicial power of this court extends to the Atakapa Indian de Creole Nation’s claim

because it rises in three foreign created treaty contracts; one being the October 27, 1795 Treaty

of Friendship, Limits, and Navigation Between Spain (Iberian Kingdom) and The United States;

Our “analysis must begin ... with the text of the treaty and the context in which the written words

are used.”102 If the treaty contains “difficult or ambiguous passages,” this court should go beyond

the text of the treaty to consider general rules of construction as well as “the history of the treaty,

the negotiations, and the practical construction adopted by the parties.”103; see Zicherman v.

Korean Air Lines Co., Ltd.,104 (explaining that “a treaty ratified by the United States is not only

the law of this land but also an agreement among sovereign powers” and thus “we have

traditionally considered as aids to its interpretation the negotiating and drafting history (travaux

préparatoires) and post-ratification understanding of the contracting parties”). Applying this

framework under the settled rules by which leases are construed, this court should conclude that

the Spanish Treaty of 1795 is void and does not apply in this case.105106




102
   Air France, 470 U.S. at 397, 105 S.Ct. 1338.
  E. Airlines, Inc. v. Floyd, 499 U.S. 530, 535, 111 S.Ct. 1489, 113 L.Ed.2d 569 (1991) (internal
103

quotation marks omitted)
104   Zicherman v. Korean Air Lines Co., Ltd., 516 U.S. 217, 226, 116 S.Ct. 629, 133 L.Ed.2d 596 (1996)
105
    Underwriters at Lloyds Subscribing to Cover Note B0753PC1308275000 v. Expeditors Korea
Ltd., 882 F.3d 1033, 1039–40 (11th Cir.2018)
106
    Bradley to Use of Shepherd, to Use of Taylor, v. United States, 13 Ct.Cl. 166, 171 (1877),
aff'd sub nom. Bradley v. United States, 98 U.S. 104, 25 L.Ed. 105 (1878)

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           5. message to Indian Chief Brother Handsome Lake, United States President
              Thomas Jefferson
            On November 3, 1802 in a message to Indian Chief Brother Handsome Lake, United

States President Thomas Jefferson defined the parameters of the European Doctrine of Discovery

to wit:

                    You remind me, brother, of what I said to you, when you visited
                   me the last winter, that the lands you then held would remain
                   yours, and shall never go from you but when you should be
                   disposed to sell. This I now repeat and will ever abide by. We,
                   indeed, are always ready to buy land; but we will never ask but
                   when you wish to sell; and our laws, in order to protect you against
                   imposition, have forbidden individuals to purchase lands from you;
                   and have rendered it necessary, when you desire to sell, even to a
                   State, that an agent from the United States should attend the sale,
                   see that your consent is freely given, a satisfactory price paid, and
                   report to us what has been done, for our approbation.

                   This was done in the late case of which you complain. The
                   deputies of your nation came forward, in all the forms which we
                   have been used to consider as evidence of the will of your nation.
                   They proposed to sell to the State of New York certain parcels of
                   land, of small extent, and detached from the body of your other
                   lands; the State of New York was desirous to buy. I sent an agent,
                   in whom we could trust, to see that your consent was free, and the
                   sale fair. All was reported to be free and fair. The lands were your
                   property. The right to sell is one of the rights of property. To forbid
                   you the exercise of that right would be a wrong to your nation.

            Free consent and Fair sale. All the nations of Europe, who have acquired territory on this

continent, have asserted in themselves, and have recognized in others, the exclusive right of the

discoverer to appropriate the lands occupied by the Indians.107 A construction should be

preferred which preserves rather than destroys the contract.108 A rational and just construction
                                                       109
will be preferred to one which is unreasonable.              The whole contract should be construed in



107Johnson v. M'Intosh, 21 U.S. 543, 584, 5 L.Ed. 681 (1823)
108
    Bradley to Use of Shepherd, to Use of Taylor, v. United States, 13 Ct.Cl. 166, 171 (1877),
aff'd sub nom. Bradley v. United States, 98 U.S. 104, 25 L.Ed. 105 (1878)
109   Id


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determining the meaning of its parts.110 A invalid, void, or illegal contract which is an entirety

cannot be enforced in part and rescinded in part.111

                   6. ART. II. Of the Treaty of October 27, 1795; the United States Boundary lines
            This provision of the treaty outlines the boundary lines between American Iberian Empire

and The United States as follows:

                   To prevent all disputes on the subject of the boundaries which
                   separate the territories of the two High contracting Parties, it is
                   hereby declared and agreed as follows:

                   to wit: The Southern boundary of the United States which divides
                   their territory from the Spanish Colonies of East and West Florida,
                   shall be designated by a line beginning on the River Mississippi at
                   the Northernmost part of the thirty first degree of latitude North of
                   the Equator, which from thence shall be drawn due East to the
                   middle of the River Apalachicola or Catahouche, thence along the
                   middle thereof to its junction with the Flint, thence straight to the
                   head of St Mary's River, and thence down the middle thereof to the
                   Atlantic Ocean….

                   7. ART. V. Of the Treaty of October 27, 1795; actio utilis - the advantages were
                       intended for a third person

           If the advantages were intended for a third person, natural or corporate, who was not a

party to the agreement, there results for him the actio utilis under Roman Civil Law or a
                                                          112
“Stipulation pour autrui” French Civil Law….                    The Treaty of October 27, 1795 grants

advantages intended for a third party, the Indians of the Spanish Kingdom.

                   The two High contracting Parties shall by all the means in their
                   power maintain peace and harmony among the several Indian
                   Nations who inhabit the country adjacent to the lines and Rivers
                   which by the proceeding Articles form the boundaries of the two
                   Floridas;

                   It is hereby agreed that …both Parties will endeavour to make the
                   advantages of the Indian trade common and mutually beneficial to
                   their respective Subjects and Citizens observing in all things the

110   id
111
      id
112
      Orleans Nav. Co. v. City of New Orleans, 2 Mart.(o.s.) 10, 39 (La. Super.1811)

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                    most complete reciprocity: so that both Parties may obtain the
                    advantages arising from a good understanding with the said
                    Nations….

           Words are not always to be understood in their strict grammatical sense the intention of the

party who utters them is to be considered.113 The goal of treaty interpretation is to determine

parties' actual intention, because it is the court's responsibility to give treaty's specific words

meaning consistent with contracting parties' shared expectations.114 Under federal common law,

contract's language's plain meaning governs its interpretation.115 Under federal common law,

document should be read to give effect to all its provisions and to render them consistent with

each other.116        Under federal common law, the court may apply rule of construction that

ambiguous contract provision should be construed against drafter only after applying other rules

of construction and considering extrinsic evidence, including about industry custom and

practice.117 In this case, both Spain and the United States agreed by ratified treaty to engage in

commercial intercourse with the Indians of Post D’Atakapa. A contract or lease entered into by

an officer of the government, under the authority of an existing statute, or subsequently ratified

by Congress, cannot be annulled or changed, except in the manner therein provided for, if any, or

by the consent of all the contracting parties.118 In this respect the United States occupy the same

position and are subject to the same rules of law as individuals. They cannot evade or escape

contract obligations and liabilities. 119




113
    id
114
    Underwriters at Lloyds Subscribing to Cover Note B0753PC1308275000 v. Expeditors Korea
Ltd., 882 F.3d 1033, 1039–40 (11th Cir.2018)
115
    id
116
    Underwriters at Lloyds Subscribing to Cover Note B0753PC1308275000 v. Expeditors Korea
Ltd., 882 F.3d 1033, 1039–40 (11th Cir.2018)
117   Freedman's Sav. & Tr. Co. v. United States, 16 Ct.Cl. 19, 24 (1880)
118   id
119
      id

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               8. John Adams - June 12, 1797; Message to the Senate and House;
His Catholic Majesty of Spain … declared their intention to maintain his jurisdiction, and to
suspend the withdrawing his troops from the military posts they occupy within the territory of
the United States until the two Governments shall, by negotiation, have settled the meaning of
the second article respecting the withdrawing of the troops, garrisons, or settlements of either
party in the territory of the other-that is, … until the Spanish officers are sure the Indians will be
pacific. The two first questions, if to be determined by negotiation, might be made subjects of
discussion for years, and as no limitation of time can be prescribed to the other, a certainty in the
opinion of the Spanish officers that the Indians will be pacific, it will be impossible to suffer it to
remain an obstacle to the fulfillment of the treaty on the part of Spain.

To … remove the second obstacle John Adams asserted that he shall cause an assurance to be
published and to be particularly communicated to the minister of His Catholic Majesty of Spain
and to the governor of Louisiana that the settlers or occupants of the lands in question shall not
be disturbed in their possessions by the troops of the United States, but, on the contrary, that they
shall be protected in all their lawful claims; and to prevent or remove every doubt on this point it
merits the consideration of Congress whether it will not be expedient immediately to pass a law
giving positive assurances to those inhabitants who, by fair and regular grants or by occupancy,
have obtained legal titles or equitable claims to lands in that country prior to the final ratification
of the treaty between the United States and Spain on the 25th of April, 1796.

               9. Jefferson's Draft on an Amendment to the Constitution: 1803
       In response to John Jay’s message to congress President Thomas Jefferson drafted the

aforesaid amendment to the Louisiana Purchase Treaty.

The province of Louisiana is incorporated with the U. S. and made part thereof. The rights of
occupancy in the soil, and of self-government, are confirmed to the Indian inhabitants, as they
now exist. Pre-emption only of the portions rightfully occupied by them, and a succession to the
occupancy of such as they may abandon, with the full rights of possession as well as of property
and sovereignty in whatever is not or shall cease to be so rightfully occupied by them shall
belong to the U. S.

The legislature of the Union shall have authority to exchange the right of occupancy in portions
where the U. S. have full right for lands possessed by Indians within the U. S. on the East side of
the Mississippi, to exchange lands on the East side of the river for those on the West side thereof
and above the latitude of 31 degrees; to maintain in any part of the province such military posts
as may be requisite for peace or safety; to exercise police over all persons therein, not being
Indian inhabitants; to work salt springs, or mines of coal, metals and other minerals within the
possession of the U. S. or in any others with the consent of the possessors; to regulate trade and
intercourse between the Indian inhabitants and all other persons; to explore and ascertain the
geography of the province, its productions and other interesting circumstances; to open roads and
navigation therein where necessary for beneficial communication and to establish agencies and
factories therein for the cultivation of commerce, peace and good understanding with the Indians
residing there.



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The legislature shall have no authority to dispose of the lands of the province otherwise than is
hereinbefore permitted, until a new Amendment of the constitution shall give that authority.
Except as to that portion thereof which lies south of the latitude of 31 degrees; which whenever
they deem expedient, they may erect into a territorial Government, either separate or as making
part with one on the eastern side of the river, vesting the inhabitants thereof with all the rights
possessed by other territorial citizens of the U.S.

               10. 8 U.S.C.A. § 1489. Application of treaties; exceptions
               Nothing in this subchapter shall be applied in contravention of the
               provisions of any treaty or convention to which the United States is
               a party and which has been ratified by the Senate before December
               25, 1952

               11. 28 U.S.C.A. § 1333. Admiralty, maritime and prize cases
       The district courts shall have original jurisdiction, exclusive of the courts of the States,

of:

                        any civil case of admiralty or maritime jurisdiction,
                        saving to suitors in all cases all other remedies to which
                        they are otherwise entitled.

                        Any prize brought into the United States and all
                        proceedings for the condemnation of property taken as
                        prize.

 11. U.S. Const. amend. V Takings clause

* * * nor shall private property be taken for public use, without just compensation.

 12. EQUAL PROTECTION VIOLATIONS

               1. 42 U.S.C.A. § 1981. Equal rights under the law
                           i. Statement of equal rights.

        All persons within the jurisdiction of the United States shall have the same right in every
        State and Territory to make and enforce contracts, to sue, be parties, give evidence, and
        to the full and equal benefit of all laws and proceedings for the security of persons and
        property as is enjoyed by white citizens.

                          ii. “Make and enforce contracts” defined

        For purposes of this section, the term “make and enforce contracts” includes the making,
        performance, modification, and termination of contracts, and the enjoyment of all
        benefits, privileges, terms, and conditions of the contractual relationship.


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                    2. La. Rev. Stat. Ann. § 49:1212 Council on the Success of Black Men and Boys
           The council on the success of Black men and boys became effective law on August 1,

2018. It is a body corporate and public, exercising public and essential governmental functions.

The custom and practice in Louisiana is to grant a corporate body all the powers of a corporation

and the ability to become a political community. In this instance, the Council is only given the

power to study and report to the Governor. The statute does not grant the Council any corporate

powers. Thereby restraining trade and frustrating interstate commerce. Under 42 U.S.C.A. §

1981 all persons within the jurisdiction of the United States shall have the same right in every

State and Territory to make and enforce contracts.

             In Sakamoto v. Duty Free Shoppers, Ltd. the court held that an exclusive franchise

agreement under which only one business was permitted to sell and deliver gifts at the Guam

airport terminal was rationally related to the desire to raise revenue for the airport and to regulate

traffic and security at the airport, so that the exclusive franchise arrangement did not deny equal

protection to a business which did not obtain the exclusive franchise.120

                    3. Body corporate; powers
           The law of nations is the science which teaches the rights subsisting between nations or

states, and the obligations correspondent to those rights.121 The ROYAL CROWN, LTD

constitutes a body corporate and politic in law122 It is therefore necessary that nations should

acquire a knowledge of the obligations incumbent on it, in order that he may not only avoid all

violations of his duty, but also be able distinctly to ascertain his rights, or what he may lawfully

require from other nations.123


120   Sakamoto v. Duty Free Shoppers, Ltd., 764 F.2d 1285 (9th Cir.1985)
121   Emir De Vattel, “The Law of Nations”
122
      La. Rev. Stat. Ann. § 28:242
123   Emir De Vattel, “The Law of Nations”


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           The law of nature declares every nation free and independent of all the others.124 with

exclusive lease agreements with Louisiana and the United States; The ROYAL CROWN, LTD

possesses all the powers of a corporation together with all the powers and rights of a political

subdivision of a Royal Devine Nation-State as provided by the Covenant of One Heaven;

relating to the incurring of debt and the issuing of Stocks and bonds therefor. Said Royal Devine

Nation-State, through the Emperor De’ Orleans, may incur debt and issue negotiable Instruments

and create a national currency and Foreign alliances and allegiances in accordance with the

power and authority of the Covenant of One Heaven and in the form and manner and with the

effect and security now provided by the Law of Nations, the United Nation, State of Louisiana

and the United States.

           This Royal Nation-State, through the Emperor De’ Orleans should have exclusive power

to incur debt and contract obligations in accordance with the Covenant of One Heaven, claim

Absolute Royal Devine Sovereign Immunity; have a corporate seal; the ROYAL CROWN, LTD

should have exclusive power to do and perform any and all acts in its corporate capacity and in

its corporate name which are necessary and proper for carrying out the purposes and objects for

which it is created.125 The ROYAL CROWN, LTD should have exclusive power of eminent

domain. The ROYAL CROWN, LTD should have exclusive power to expropriate or confiscate

property for all its purposes and objectives, in accordance with the constitution and laws of the

state of Louisiana, the United States, and the Covenant of One Heaven. The ROYAL CROWN,

LTD should have exclusive power to construct, lease, maintain, acquire, enlarge and operate any

facility or do any other thing necessary for the use and purpose of the Royal Nation-State. The

ROYAL CROWN, LTD should have exclusive power to should have the power to own in full




124   id
125   LSA-R.S. 28:242 body Corporate; powers


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ownership any facilities and may acquire the same by donation, confiscation, expropriation,

prescription or otherwise.

          In Jackson v. W. Indian Co., Ltd., the court held that an agreement by cruise ship

operator, an instrumentality of Virgin Islands government, granting to taxi association members

exclusive right to pick up all “independent” cruise ship passengers from operator's dock was

rationally related to legitimate state goal of ensuring orderly and efficient taxi service at cruise

docks, and thus did not violate equal protection rights of taxi drivers who were not members of

association.126 By virtue of the 1795 Spanish treaty of friendship and the Judgement of

possession from the Succession of William Moses Jr his Majesty possesses a vested interest in

the establishment of the Council for the Success of Black men and Boys. This court’s issuance

of a perpetual exclusive franchise for the ROYAL CROWN, LTD therefore is rationally related

to the desire to raise revenue for the Council but at the same time it will serve to regulate

commercial membership traffic with security for the Nation; and to regulate traffic from outside

businesses seeking entrance into the State of Louisiana to capitalize on this present market value.

                 4. Is the United States a Corporation that is subject to suit?
Yes, under 28 U.S.C.A. § 3002 Federal Debt Collection Procedure

          Definition

                 (15) “United States” means—

                 A.     a Federal corporation;

                 B.      an agency, department, commission, board, or other entity
                 of the United States; or

                 C.     an instrumentality of the United States.




126
      Jackson v. W. Indian Co., Ltd., 944 F.Supp. 423 (D.V.I.1996)

                                                  51
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        The United States thus is a juristic person in the sense that it has capacity to sue OR be

sued upon contracts made with it or in vindication of its property rights. 127

        The Doctrine of Discovery is an anti-trust monopolistic doctrine used by European

Invaders to illegally transfer ownership of land from the indigenous people of America to their

respective Governments. Europeans use the Doctrine of Conquest to exercise dominion over the

Indigenous people of the land once they completed the illegal transfer of land. His Majesty

contends that the defendants are once again engaging in antitrust violations and monopolization

of domestic, international and intergalactic128 commercial markets that, unless enjoined and

restrained, will imminently and immediately put his Majesty out of business.129

 13. Vested Rights

                         1. A right is vested so that it may not constitutionally be divested under
                             Due Process and Contract Clauses

                                      a. Proper title attaches petitioner back to land and rights

          Unless verdict or judgment has been rendered, there is no presumption against retroactive

application of statute which prohibits plaintiff from obtaining monetary relief from local

government and its officials for violation of antitrust laws.130 When the right to enjoyment,

present or prospective, has become the property of some particular person or persons as a present

interest; right must be absolute, complete and unconditional, independent of a contingency, and a

127
      United States v. Cooper Corp., 312 U.S. 600, 604, 61 S.Ct. 742, 743, 85 L.Ed. 1071 (1941)
128
   United States Space Force - The United States Space Force (USSF) is the sixth branch of the United
States Armed Forces, which is intended to have control over military operations in outer space. It has
been noted that the most powerful institutions in national security are the military services, yet there is no
military service dedicated to promote outer space activities.
129
    See Girl Scouts of Manitou Council, Inc. v. Girl Scouts of U.S. of Am., Inc., 549 F.3d 1079, 1089 (7th
Cir. 2008) (evidence of “severe financial stress . . . that could ultimately force [a company] into
insolvency,” or evidence of a “risk to the organization’s significant goodwill,” supports a finding of
irreparable harm for which there is no adequate remedy at law); Roland Machinery Co. v. Dresser
Industries, Inc., 749 F.2d 380, 386 (7th Cir. 1984) (damages ready is inadequate when the “damage award
may come too late to save the plaintiff’s business” (quoting Semmes Motors, Inc. v. Ford Motor Co., 429
F.2d 1197, 1204–05 (2d Cir. 1970) (Friendly, J.)).
130
    Jefferson Disposal Co., Inc. v. Jefferson Par., La., 603 F.Supp. 1125 (E.D. La.1985)


                                                     52
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mere expectancy of future benefit does not constitute a vested right.131 The Christian Emperor

Edward Moses Jr. Trust Protector of the American-Iberian Tribe of ‫ מֶשׁה‬Moses also known as

Atakapa Indian Nation through the intestate succession judgement of William Moses Jr possess a

vested right to recover tribal ancestral property wherever found; a right which is protected under

the Due Process and Contract Clauses of the United States Constitution.

           In construing treaties between nations, it cannot be presumed that either state intends to

provide the means of perpetrating or protecting fraud, but all provisions are to be construed as

intended to be applied to bona fide transactions.132 Under law of Spain the African slave trade is

abolished and negroes thereby introduced into dominions of Spain are free.133 Spain is located on

the Iberian Peninsula.          The Atakapa Indians of New Iberia, La., named after the Iberian

Peninsula or Spanish Louisiana or New Spain acquired a vested right in the commercial contract

with the United States and the Iberian Kingdom the moment that the United States and the

“Vatican” appointed Catholic King of Spain (Iberian Kingdom) ratified the 1795 Friendship

Treaty.

         Both Spain and the United States agreed by ratified treaty to engage in commercial

intercourse with the Indians of Post D’Atakapa. A contract or lease entered into by an officer of

the government, under the authority of an existing statute, or subsequently ratified by Congress,

cannot be annulled or changed, except in the manner therein provided for, if any, or by the

consent of all the contracting parties. In this respect the United States occupy the same position

and are subject to the same rules of law as individuals. They cannot evade or escape contract

obligations and liabilities thus acquired by a failure on the part of Congress to make the

necessary appropriations.134

131
      Ebinger v. Venus Const. Corp., 2010-2516 (La. 7/1/11), 65 So.3d 1279
132
       The Amistad, 40 U.S. 518, 521, 10 L.Ed. 826 (1841)
133   id
134   Freedman's Sav. & Tr. Co. v. United States, 16 Ct.Cl. 19, 24 (1880)

                                                            53
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            Under the settled rules by which leases are construed. A lease void under the statute of

frauds, for want of authority of the agent who executed it, will regulate the rights of the parties

during the actual existence of the tenancy.135 The rights and liabilities of the lessor and lessee are

to be measured and determined by the lease under which possession was obtained, and it is not

within the power of either party to change the terms of the tenancy without the assent of the
           136
other.           Under the Due Process and Contract Clauses of both the United States and Louisiana

Constitutions, a law may not be applied retroactively if it would impair contractual obligations or

disturb vested rights.137 A cause of action accrues when a party has the right to sue. Id. Once a

party's cause of action accrues, it becomes a vested property right that may not constitutionally

be divested under Due Process and Contract Clauses of state and federal constitutions.id In this

case, the right to enjoyment, present or prospective, has become the property of the Tribe of

‫ מֶשׁה‬Moses a result of William Moses Jr Succession Judgement. The Right to the Atakapa

Indians property belongs to the heirs of the Tribe of ‫ מֶשׁה‬Moses Express Spendthrift Trust. His

Majesty’s succession judgment is a present interest; The Christian Emperor’s final succession

judgment is absolute, complete and unconditional, independent of a contingency or a mere

expectancy of future benefit which constitutes a vested right which may not constitutionally be

divested.138

            The goal of treaty interpretation is to determine parties' actual intention because it is the

court's responsibility to give a treaty's specific words meaning consistent with contracting parties'

shared expectations.139         Under federal common law, [sic] contract language plain meaning

governs its interpretation. Id. Under Treaty interpretation, documents should be read to give

135
    Bradley to Use of Shepherd, to Use of Taylor, v. United States, 13 Ct.Cl. 166, 171 (1877),
aff'd sub nom. Bradley v. United States, 98 U.S. 104, 25 L.Ed. 105 (1878)
136
    id
137   Ebinger v. Venus Const. Corp., 2010-2516 (La. 7/1/11), 65 So.3d 1279
138
      id
139Underwriters at Lloyds Subscribing to Cover Note B0753PC1308275000 v. Expeditors Korea Ltd., 16-10985,
2018 WL 914780 (11th Cir. Feb. 16, 2018)


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effect to all its provisions and to render them consistent with each other.id. As a general matter,

the United States becomes a “party” to a treaty, that is, becomes contractually bound to obey its

terms, only when, upon concurrence of two thirds of the Senators present, the President ratifies

the treaty. 140141 By this definition of “party” the United States is contractually bound by year to

year lease agreement to obey the terms of both the Spanish/US Treaty of 1795 and the

French/US treaty of 1800. A lease for years, though void as to the term of years, is good for one

year if the lessee enters, and the tenancy thereafter becomes a tenancy from year to year.142 In

this case, the United States is properly chargeable each year to pay the present value of

$12,000,000 plus $11,250,000 in stock for a year to year lease with the American Aboriginal

Indians of Post D’Atakapa for an approximate total of 400 years.

                  2. 28 U.S.C.A. § 2241 Application for Writ of Habeas Corpus
(c)The writ of habeas corpus shall not extend to a prisoner unless--(c)

                  (1) He is in custody under or by color of the authority of the United
                  States. 28 U.S.C.A. § 2241

                  3. Baton Rouge City Police Alarm Use Violation Final Notice
      The Christian Emperor is under constructive custody therefore he is entitled to a writ of

Habeas Corpus. On or about December 7, 2018 The City of Baton Rouge issued his Majesty a

“FINAL NOTICE” informing him that under City Ordinance 9:422, 9:423, and 9:424 “All users

of residential and business alarms inside the city limits of Baton Rouge must have a permit” The

City commanded his Majesty to comply with the notice or a Misdemeanor Summons (Citation)

will be issued under City Ordinance 9:422, which may result in fines up to $250.00 per false

alarm. If this court does not enjoin and restrain the Baton Rouge Police Department then his

Majesty will suffer irreparable harm (for which money damages cannot compensate) Thus, the


140 U.S.C.A. Const. Art. 2, § 2, cl. 2.
141 Ozaltin v. Ozaltin, 708 F.3d 355 (2d Cir.2013)
142 id




                                                       55
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Balance of Harms and Public Interest Favor a Temporary Restraining Order and preliminary

injunction.

                  4. The Atakapa Indian Nation of Spanish Louisiana is in fact an Absolute
               sovereign and independent Nation

               §1. What is meant by a nation or state? Nations or states are bodies
               politic, societies of men united together for the purpose of
               promoting their mutual safety and advantage by the joint efforts of
               their combined strength.143

       The definitions given by the emperor Justinian, of the law of nature, the law of nations,

and the civil law, are well known. “The law of nature” says he, “is that which nature teaches to

all animals”:† thus he defines the natural law in its most extensive sense, not that natural law

which is peculiar to man, and which is derived as well from his rational as from his animal

nature. “The civil law,” that emperor adds, “is that which each nation has established for herself,

and which peculiarly belongs to each state or civil society. And that law, which natural reason

has established among all mankind, and which is equally observed by all people, is called the law

of nations, as being a law which all nations follow.”144 Louisiana is the only Civil law state in the

union. The very term ‘nation,’ so generally applied to them, means ‘a people distinct from

others.’ The constitution, by declaring treaties already made, as well as those to be made, to be

the supreme law of the land, has adopted and sanctioned the previous treaties with the Indian

nations, and, consequently, admits their rank among those powers who are capable of making

treaties. The words ‘treaty’ and ‘nation’ are words of the Europeans own language, selected in

European diplomatic and legislative proceedings, by European Nations, having each a definite




143
    Vattel, Emer de. The Law of Nations (Natural Law and Enlightenment Classics) . Liberty
Fund Inc.. Kindle Edition.
144Id.




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and well understood meaning. European Nations have applied them to Indians, as Europeans

have applied them to the other nations of the earth. They are applied to all in the same sense.145

           Louisiana is a country or Nation almost entirely occupied by numerous tribes of aboriginal

Indians, who are in fact sovereign and independent.146 The Atakapa and Opelousas Aboriginal

Indians were the allies of France and Spain, but not their subjects, never having been in any

manner conquered by them, and held the country or Nation of Louisiana in absolute sovereignty,

as an independent sovereign nation, both as to the right of jurisdiction and sovereignty, and the

right of soil, except a few military posts, and a small territory around each which they had ceded

to France, and she held under them, and among which were the aforesaid post D’Atakapa; and

that these Indians, after the 1795 treaty, became the allies of Spain, living under her protection as

they had before lived under that of France, but were free and independent, owing no allegiance to

any foreign power whatever, and holding their lands in absolute property; the territories of the

respective tribes being separated from each other, and distinguished by certain natural marks and

boundaries to the Indians well known, Baton Rouge; A Red Staff. And each tribe claiming and

exercising separate and absolute ownership, in and over its own territory, both as to the right of

sovereignty and jurisdiction, and the right of soil.147

                    5. Application for Writ of Habeas Corpus is not confined to those in jail or like
                       physical confinement

            As mentioned earlier it was established in the seminal case on the issue of Royal

Sovereignty Johnson v. M'Intosh the United States Supreme Court found that Spanish Louisiana,

New Spain or French Louisiana … is a country that is entirely occupied by numerous tribes of

Aboriginal Indians, who are in fact independent.148 In the Amistad case the court found that free


145 Worcester v. State of Ga., 31 U.S. 515, 519, 8 L.Ed. 483 (1832)
146 Johnson v. M'Intosh, 21 U.S. 543, 587, 5 L.Ed. 681 (1823)
147
     id
148   id


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born Africans are not within the jurisdiction of the United States or any of her states.149 Thus,

this cause came on to be heard on the transcript of the record of the District Court of the United

States for the district of Louisiana.150

          His Majesty is in custody or otherwise restrained such that he is absolutely entitled to

habeas relief.151 The United States Supreme Court in Jones v. Cunningham held that in the state

courts, as in England, habeas corpus has been widely used by parents disputing over which is the

fit and proper person to have custody of their child.1213 History, usage, and precedent can leave

no doubt that, besides physical imprisonment, there are other restraints on a man's liberty,

restraints not shared by the public generally, which have been thought sufficient in the English-

speaking world to support the issuance of habeas corpus.152

        The term ‘Indians,’ as ordinarily used when referring to persons in the United States, is

understood to refer to the members of that Aboriginal race of men who inhabited North America

when it was found by Caucasian people.153 By the St. of 1869, c. 463, § 1, “all Indians, and

“people of color”, heretofore known and called Indians, within this Commonwealth, are hereby

made and declared to be citizens of the Commonwealth….154 The Atakapas “are being held as

wards of the State through the Louisiana Governor's Office of Indian Affairs ... [a]nd in pupilage

under [the] United States. Under U.S. Const. amend. XIII, § 1 Neither slavery nor involuntary

servitude…shall exist within the United States, or any place subject to their jurisdiction. This

court should find that his Majesty did in fact make proper allegations that his property, liberty




149 The Amistad, 40 U.S. 518, 521, 10 L.Ed. 826 (1841)
150 La Amistad De Rues, 18 U.S. 385, 393, 5 L.Ed. 115 (1820)
151 Atakapa Indian de Creole Nation v. Louisiana, 6:18-CV-00190, 2018 WL 4222830, at *3 (W.D. La. July 23,

2018), report and recommendation adopted, 6:18-CV-00190, 2018 WL 4089385 (W.D. La. Aug. 27, 2018) (Rec
Doc 13 pg 1-2)
152 Jones v. Cunningham, 371 U.S. 236, 240, 83 S.Ct. 373, 376, 9 L.Ed.2d 285 (1963)
153 Frazee v. Spokane Cty., 29 Wash. 278, 286, 69 P. 779, 782 (1902)
154
      Danzell v. Webquish, 108 Mass. 133, 134–35 (1871)

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and freedom to rule his Nation are restrained with intent to injure by the United States and the

State of Louisiana and its political subdivisions.

         The habeas corpus jurisdictional statute implements the constitutional command that the

writ of habeas corpus be made available.2 While limiting its availability to those ‘in custody,’ the

statute does not attempt to mark the boundaries of ‘custody’ nor in any way other than by use of

that word attempt to limit the situations in which the writ can be used. To determine whether

habeas corpus could be used to test the legality of a given restraint on liberty, this Court has

looked to common-law usages and the history of habeas corpus both in England and in this

country. 155 Issuance of the Great Writ is a civil proceeding, cognizable by courts of exclusively

civil jurisdiction. The proceeding by habeas corpus has always been regarded in England as a

civil proceeding.156 The writ of habeas corpus may be used in civil as well as in criminal and

political cases. A tutor deprived of the custody of his ward, or a husband of the company of his

wife, may seek a restoration to their rights by a recourse to a writ of habeas corpus; so, may a

debtor, illegally confined in a civil case. 157

         Accordingly, the illegal detention of his Majesty’s tribal people as wards, pupils of the

federal and state government, and deprivation of their birthrights, privileges and their property

are sufficient enough to invoke the jurisdiction of this court for an order granting his writ of

habeas corpus.158 His Majesty added members of the Secretary of State and the Bureau of Indian




155 Jones v. Cunningham, 371 U.S. 236, 238, 83 S.Ct. 373, 374–75, 9 L.Ed.2d 285 (1963)
156 State of Louisiana v. Judge of Commercial Court, 15 La. 192, 193 (1840) See Bacon's Ab., title Habeas Corpus
ad subjiciendum; and Bushell's case in Vaughan's Reports.
157
     Hyde v. Jenkins, 6 La. 427, 436 (1834)
158 Atakapa Indian de Creole Nation v. Louisiana, 6:18-CV-00190, 2018 WL 4222830, at 1 (W.D. La. July 23,

2018), report and recommendation adopted, 6:18-CV-00190, 2018 WL 4089385 (W.D. La. Aug. 27, 2018); § 1154.
Procedure for granting immigrant status s (a) Petitioning procedure
(1)(A)(i) Except as provided in clause (viii), any National of America or citizen of the United States claiming that an
alien(ward) is entitled to classification by reason of a relationship described in paragraph (1), (3), or (4) of section
1153(a) of this title or to an immediate relative status under section 1151(b)(2)(A)(i) of this title may file a petition
with the Attorney General for such classification.


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Affairs159 as parties respondent squarely raises the question of whether the United States, State of

Louisiana, and the Bureau of Indian Affairs now hold petitioner and his people in their ‘custody’

within the meaning of 28 U.S.C. s 2241 such that he can by habeas corpus require the United

States, the State of Louisiana, the city of Baton Rouge and the Bureau of Indian Affairs to point

to and to defend the law other than the illegal law of conquest by which it justifies any restraint

on the Christian Emperor’s liberty. 160

        The question is whether the United States, Louisiana, the city of Baton Rouge and the

Bureau of Indian Affairs significantly restrain his Majesty's liberty to do those things which in

this country free men are entitled to do.         Such restraints are enough to invoke the help of the

Great Writ of Habeas Corpus. Of course, that writ always could and still can reach behind prison

walls and iron bars. But it can do more. It is not now and never has been a static, narrow,

formalistic remedy; its scope has grown to achieve its grand purpose—the protection of

individuals against erosion of their right to be free from wrongful restraints upon their liberty. Id

        His Majesty is not in immediate physical imprisonment however, the painful sense of

being separated from their ancient connections, and united by force to strangers through the

Europeans sadistic Doctrine of Conquest161; being classified as Ward, or pupil of the State and

Federal Government imposes conditions which significantly confine and restrain his Majesty’s

leadership and his tribal peoples’ freedom and property which taken as a whole is enough to keep

them in the ‘custody by illegal conquest’ of Louisiana and the United States within the meaning

of the habeas corpus statute; thus if his Majesty can prove his allegations then this ‘custody’ is in

violation of the 4th amendment, 5th Amendment, 13th amendment, and 14th Amendment to the

Constitution. “[W]hen an alleged deprivation of a constitutional right is involved, most courts



159 (Rec Doc 38-2 pg 2)
160 Jones v. Cunningham, 371 U.S. 236, 241, 83 S.Ct. 373, 376, 9 L.Ed.2d 285 (1963)
161 Johnson v. M'Intosh, 21 U.S. 543, 588–89, 5 L.Ed. 681 (1823)




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hold that no further showing of irreparable injury is necessary.” As a result, the balance of

harms and public interest favor a temporary restraining order and a preliminary injunction.

       WHEREFORE, the CHRISTIAN EMPEROR de ORLEANS seeks protection from a

wrongful injury and restraint upon his liberty to be free from prosecution for failure to obtain an

Alarm User Permit and prays for an order issuing his Majesty’s writ of Habeas Corpus and an

order granting him an emergency preliminary injunction, permanent injunction and a temporary

restraining order thus restraining the United States, Louisiana, and other defendants both known

and unknown against erosion of his Majesty’s absolute right to absolute sovereignty and the

absolute right to be free from illegal and Sadistic Doctrine of European Conquest and separation

injury. His Majesty further prays for an order to restrain the defendants named in his verified

complaint from engaging in anti-trust monopolistic commercial activity that further injures the

Royal Crown.        Finally, his Majesty prays that the “EMERGENCY TEMPORARY

RESTRAINING ORDER” restraining the sadistic Doctrine of European Conquest be issued

without notice and be extended from time to time until the parties can set a hearing date for a

preliminary and final injunction respectively.


  CERTIFICATE OF SERVICE
                                                      Respectfully Submitted
  I hereby certify that a copy of the above
  pleading was filed electronically with the          BY: /s/ Edward Moses Jr (B/N:30646)
  Clerk of Court using the CM/ECF system.
  Notice of this filing will be sent to all parties   MOSES LAW FIRM, L.L.C.
  in the matter by operation of the court’s           2900 Westfork Drive Ste 401
  electronic filing system.                           Baton Rouge, Louisiana 70827
                                                      Telephone (225) 295-5632
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